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                                          CONIRATO DE PRESTAMO

                    DE LA PRIMERA PARTE: El BANCO GUBERNAM ENTAL DE FOMENTO

             PARA PUERTO RICO, una instituci6n bancaria organizada y existente a tenor con la Ley

             Num. 17, aprobada el 23 de septiembre de 1948, segtm enmendada, (el "BANCO"),

             representado en este acto por su Vicepresidente Ejecutivo de Financiamiento, Jose R. Otero

            Freiria, mayor de edad, casado y vecino de Dorado, Puerto Rico.

                    DE    LA   SEGUNDA PARTE:          La      AUTORIDA D     DE   CARRETERAS          Y

            TRANSPOR TACION DE PUERTO RICO, una entidad juridica, creada en virtud de la

            Ley Num. 74 de 23 de junio de 1965, (la "AUTORIDAD"),                  segtm enmendada,

            representada en este acto por Ruben A Hernandez Gregorat, Director Ejecutivo de la

            Autoridad y Secretario del Departament o de Transportaci.6n y Obras Publicas, mayor de

            edad, casado, y vecino de Guaynabo, Puerto Rico, segtm autorizado par la Resolud6n

            Num.JD/i~f, de fecha l-1 de octubre de 2011 emitida por el Departamento de
            Transportaci.6n y Obras Publicas de Puerto Rico.




+
                                                   EXPONEN

                   POR cuANro: La AUTORIDAD interesa obtener financiamiento para sufragar la

Y.A...      conversi6n al sistema autoexpreso en la PR 22 y PR 5 y para cubrir gastos operacionales.
ir1'
1./                POR cuANrO: El 21 de septiembre de 2011 la Junta de Directores del BANCO

            aprob6 la Resoluci.6n Num. 9624 para conceder a la AUTORIDAD una linea de credito no

            rotativa por la sum.a maxima de SETENTA YUN MILWNFS CIENTO DIEZ Y NUEVE

            MIL QUINIE                                   DOLARES ($71,119,589) para los anteriores

            prop6sitos.




                                                                                     AAFAF_CONF_0003659
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             POR LO QUE, en consideraci6 n a los hechos afirmados anteriorment e y a las

      representacio nes, acuerdos y garantias que mas adelante se exponen, las partes

      .comparecientes acuerdan y convienen otorgar este Contrato d~tt~~~~: .:::
                                                                     ~
                                             ART.ICULO 1.           <)

                                              PRESTAMO

      1.1    Linea de Credi.to:

             Una vez se otorguen y suscriban los DOCUMENTOS LE

      en el Articulo 4.1 de este CONTRATO DE PRESTAMO, el BANCO extendera a la

      AUTORIDAD una LINEA DE CREDITO no rotatoria por la cantidad maxima de

      principal de SETENTA Y UN ~WNES CIENTO DIEZ Y NUEVE ~ QUINJENTOS

      OCHENTA Y NUEVE DOLARES ($71,119,589), mas intereses capitalizados. De dicha

      suma de principal, la AUTORIDAD utilizara la sum.a de $11,397,243 para la conversi6n al

      sistema de Auto Expreso en la PR-22 y PR-5, y la suma de $59,722,346 para sufragar gastos

      operacionales del primer semestre del Afi.o Fiscal 2012.

             La LINEA DE CREDITO estara evidenciada por dos (2) PAGARES uno por la

      suma de por la suma $11,397.,243 y otro por la suma de $59,722,346, suscritos en la misma

      fecha que este CONTRATO DE PRESTAMO y pagaderos a la orden del BANCO.

      1.2    Tasa. de Interes:

             La AUTORIDAD acuerda y conviene pagar intereses sobre el balance insoluto de

      la suma principal de la LINEA DE CREDITO, calculados sobre una base actual/360 dias,

      a una tasa equivalente a la tasa Prime Rate mas 150 puntos base, la cual nunca sera

      menor de 6%,      o la que el Presidente del BANCO o su representmt e autorizado

      determine, segun el mercado de tasas de interes. Los intereses sera capitalizados al




                                                                              AAFAF_CONF_0003660
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       vencimie nto Si en la fecha de vencimie nto de la obligaci6 n de repago la AUTORI DAD

       no ha pagado el balance insoluto del principal , la AUTORI DAD pagara intereses sobre

       dicha suma computa dos a base de 200 puntos base sobre la.tasa que le aplicaria bajo este

      CONTRA TO DE PRESTAMO. La AUTORI DAD autoriza al BANCO y le confiere poder,

      sin que se requiera notificaci6n alguna, para aplicar el derecho a compens aci6n (11set-off1) a

      las obligaciones que se originan en este CONTRA TO DE PRESTAMO, realizand o

      cualquie r aplicaci6 n de pagos de cualquie r suma de dinero pertenec iente a la




      1.3



      pagader a el 31 de agosto de 2013. La fuente de pag6 sera

      producto s de futuras alianzas publico privadas al igual que ingresos propios.

      1.4    Desembo lsos:

             La AUTORIDAD debera solicitar los desembo lsos por escrito, con tres (3) dias

      laborable s de anti.cipaci6n.   La solicitud de desembo lso incluira un fornmlar io de

      certificaci6n (notice of drawing) igual al Anejo A de este Contrato,,   en el cual el Director
      Ejecuti.vo de la AUTORIDAD, o la persona que este designe, certificar a Ia necesida d de

     los fondos y la justificac i6n para su uso.      La AUTORIDAD debera induir, ademas,

     cualquie r otra documen taci6n que el BANCO a su entera discreci6 n le solicite previo al

     desembo lso, incluyen do, pero sin limitarse , a copias de facturas. Los desembo lsos bajo

     este financiam iento estan sujetos al cum.plimiento de la AUTORIDAD con el Area de




                                                                                  AAFAF _CONF _0003661
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      Agenda Fiscal para las condiciones estipuladas en el Fiscal Oversight Agreement (FOA)

      que la AUTORJDAD tenga vigente con el BANCO. La gerencia del BANCO asignara un

      auditor extemo para ver:ificar los gastos operacionales y autorizar l                   ~~~-..w.-~
                                                                                                       .....~~~...   omo

      condici6n para dichos desembolsos.

                                            ARTICULO 2.               ,,
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                                                                     ~           "\',

                                     ACUERDOS AFIRMATIVOS            •'I:          •

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                                                                            t.
                                                                            \;
      2.1        Otras Condidones:
                                                                                        ,.,
                 La AUTORIDAD conviene y acuerda:

                 (a) Proveerle al BANCO una certificaci6n confumando que los puestos cuyo

      personal renunci6 mediante la Ley Nu.m. 70 de 2 de julio de 2010, estan y continu.an

      congelados;

                 (b) Pagar al BANCO la suma de $35,559.79 (1/20 de 1% de $71,119,589) por

      concepto de honorarios correspondientes a esta transacci6n, segu.n la politica vigente del

      BANCO., los cuales podran ser incluidos como parte de este financiamiento, de ser

      necesario.

             (c) Que los contratos por mas de $10,000 sean aprobados por el Area de Agenda

      Fiscal del BANCO.

             (d) Proveerle al BANCO la lista de contratos por ti.po de servidos para ser

      revisada por el Area de Agenda Fiscal del BANCO.

             Este CONTRATO DE PRESTAMO se otorga como una dedaraci6n ofidal de

      intenci6n bajo la regulaci6n del Departamento del Tesoro de los Esta.dos Unidos, Secci6n

      1.150-2.

      2.1    Ca.usa de Incumplimiento:




                                                                                               AAFAF_CONF_0003662
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             La AUTORIDAD notificara al BANCO de cualquier condici6n, hecho o suceso

      que pueda constituir causa de incumplimiento o en virtud de cuya notificaci6n o el mero

      transcurso del tiempo, o am.bas, pueda constituir causa de incumplimiento,

      entregandole al BANCO una certificad6n s~scrita por uno de sus oficiales, especificando

      la naturaleza de dicha causa, tiempo durante el cual ha e:xistido, y que curso de acci6n la

      AUTORIDAD se propone iniciar con relaci6n a los mismos. Tal notificaci6n debera ser

      cursada al BANCO dentro de los diez (10) dias siguientes a la ocurrencia del

      incumplimiento.

      2.2    Pago de Gestiones Ext:rajudiciales de Cobro, Honorarios, Gastos, etc.:

             A requerimiento del BANCO, la AUTORIDAD debera rembolsar prontamente al

      BANCO el pago de las costas, gastos y honorarios de abogados incurridos por el

      BANCO en gestiones extrajudiciales de cobro de cualquier plaza en mora en relaci6n con

      la LINEA DE CREDITO adeudada por la AUTORIDAD. La omisi6n de la AUTORIDAD

      de reembolsar dichas costas, gastos y honorarios de abogados constituira causa de

      incumplimiento en la LINEA DE CREDITO.

             Dichas costas, gastos y honorarios de abogados incurridos por el BANCO de

      conformidad con las disposiciones de este CONTRATO DE PRESTAMO seran

      reembolsados por la AUTORIDAD de inmediato al serle requeridos.

      2.3   Incumplimiento bajo los Documentos Legales:

            La AUTORIDAD conviene que cualquier incumplimiento de los terminos del

                 y/ o   la   carta   de   compromiso,    sera   considerado   simultaneamente



                     CO tendra inmediatamente el derecho de ejecutar cualesquiera de los




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      derechos y privilegios que puedan conferir cualquiera de los DOCUMENTOS

      LEGALES.

      2.4    Autorizadon para Tomar Presta.do:

             La AUTORlDAD ha tornado las medidas apropiadas y necesarias, ofidales ode

      otro tipo, para autorizar el otorgamiento y entrega de los DOC

      limitaci6n alguna.                                             t
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                                           ARTICUL03.           ,<(
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                                                                ib
                                       INCUMPLIMIENTOS          1
                                                                     \,
      3.1    Causas de Incumplimiento:
                                                                         '..,,,
             Cada una de las siguientes consti.tuira una causa de incumplimiento bajo los

      ternrinos de este CONTRATO DE PRESTAMO:

             3.1.1     si cualquier representaci6n dada o extendida por la AUTORlDAD al

                       BANCO en cualquiera de los tramites y DOCUMENTOS LEGALES, o si

                       cualquier informe, garantia o certificado financiero o de otra indole

                       provisto al BANCO en relaci6n con este CONTRATO DE PRESTAMO

                      resultare falso o engafioso;

            3.1.2     la falta de pago de principal e intereses y sus penalidades, si alguna, de

                      la LINEA DE CREDITO a su fecha de vendmiento de acuerdo con los

                      ternrinos de cualquiera de los DOCUMENTOS LEGALES;

            3.1.3     el incumplimiento o violaci6n por la AUTORJDAD de cualquiera de los ·

                      terminos, clausulas y condiciones pactadas con el BANCO en los

                      Articulos 1 y 2 de este CONTRATO DE PRESTAMO; o




                                                                                  AAFAF_CONF_0003664
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            3.1.4      la omisi6n por la AUTORIDAD de remediar o subsanar dentro de un

                       plazo de treinta (30) dias de su ocurrencia, sin notificad6n previa escrita

                       por prute del BANCO, cualquier incumplimiento a los terminos,

                       clausulas y condiciones de este CONTRATO DE PRESTAMO. Esto no

                       aplica a los terminos y cond.idones relacionadas con las obligaciones de

                       pago de la LINEA DE CREDITO, ya que la AUTORIDAD debera

                       cumplir estrictamente con dicho pago a su vencimiento.

      3.2   Remedios:

            Ante la ocurrencia de cualquiera de las causas de incumplimiento enumeradas en

      el Articulo 3.1 de este CONTRATO DE PRESTAMO, y si d.icho incumplimiento no es

      subsanado o remediado segun dispuesto, sin que sea necesruio que med.ie notificad6n

      alguna del incumplimiento, a cuyos derechos la AUTORIDAD mediante el presente

      otorgamiento renuncia, el BANCO podra:

            3.2.1   proceder a reclamru el pago del balance insoluto de la LINEA DE

                    CREDITO;

            3.2.2   radicru un proced.imiento judicial solicitando el cumplimiento especffico

                    de cualquier term.mo, clausula o cond.ici6n de cualquiera de los

                    DOCUMENTOS LEGALES, o un entred.icho (" injunction") provisional o

                    permanente para imped:i.r que la AUTORIDAD viole cualquiera de dichos

                    term.mos, clausulas y cond.iciones; o

            3.2.3   ejercitar cualquier otro remedio a que ten

                    Estado Libre Asociado de Puerto Rico.




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                                                   ARTiCUL04.

                                       DISPOSICIONE S MISCELANEAS

          4.1    Documentos Legales:

                 Segun     utilizado   en   este    CONTRATO      DE    PRESTAMO,        el    termino

          DOCUMENTOS LEGALES significa:

                         1. PAGARE

                         2. CONTRATODEPRESTAMO

          4.2    Renundas, Alivios, Pronogas, Tolerandas y Remedios Adidonales:

                 Ninguna dilaci6n o demora por parte del BANCO o de cualquier tenedor o

          duefi.o del PAGARE en el ejercicio de cualquier derecho, facultad o remedio que pueda

          tener conforme a los terminos de cualquiera de los DOCUMENTOS LEGALES se

          considerara como una renunda, limitaci6n o dismmud6n de los mismos, como tampoco

          el ejercicio ·parcial o exclusivo de cualquiera de los mismos sera 6bice para que

          subsiguientemen te sean ejerdtados en su totalidad, induyendo, pero sin limitarse a ello,

          el derecho de compensaci6n.       Los remedios a favor del BANCO dispuestos en los

          DOCUMENTOS LEGALES se consideraran adicionales a, y no excluyentes de, cualquier

          ob:'o remedio contemplado en ley. Para que todo alivio, pr6rroga o tolerancia extendida

          por el BANCO a la AUTORIDAD, o cualquier enmienda a este CONTRATO DE

          PR.RESTAMO, sea efecti.va, debera constar por escrito suscrito por un oficial autorizado
\
          del BANCO, que especificara el alcance del alivio, pr6rroga, tolerancia o enmienda

          concedida.     Todo alivio, pr6rroga, tolerancia o enmienda co            :~
                                 .                                            v
                                                                                o---
          unicamente para la ocurrencia o eventualidad para la cual se cortt.J~fJ

          4.4    Direcciones para N otificadones, etc.:




                                                                                    AAFAF_CONF_0003666
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             Toda notificaci6n, redamo, directriz o cualquier comunicaci6n dispuesta por los

      DOCU:MENTOS LEGALES constara por escrito y debera ser entregada personalmente o

      enviada por fax o por correo, a las siguientes direcciones:

             A LA "AUTORIDAD;':

             Autoridad de Carreteras y Transportaci6n
             Departamento de Transportaci6n y Obras Publicas
             P.O. Box 42007
             San Juan, Puerto Rico 00940-2007                               ==~
                                                                              s '•·~
             (787) 721-8787                                                 ....------~ ~o~-
                                                                                              ~1,




             Atenci6n: Director Ejecutivo
                                                                                    ;/":\~;             ~ r-' ~,
                                                                                     ~                  i ~-~· ,')
                                                                                    ./                  im ~
                                                                                                    ,
                                                                                                         f\J;"
                                                                                                           JI
             Banco Gubernamental de Fomento para Puerto Rico
             P.O. Box 42001
             San Juan, Puerto Rico 00940-2001
             Fax: (787) 721-1443 ·

             Atenci6n: Presidente

      o a cualquier otra direcci6n que las partes sefi.alen mediante notificaci6n escrita cursada

      conforme a lo dispuesto en este Articulo. Estas se consideraran perfeccionadas una vez

      las mismas se depositen debidamente franqueadas en el correo y sean cursadas a las

      direcciones mendonadas.

      4.5    Sucesores y Causahabientes:

             Los pactos y clausulas aqui contenidas obligaran y beneficiaran a las partes ya

      sus respectivos causahabientes, albaceas, administradores, sucesores y cesionarios.

      4.6    Renuncias por la AUTORIDAD a Presentaci6n, Protesto, etc.:

             La AUTORIDAD renuncia a toda notificaci6n de aceptaci6n o demanda o

      requerimiento a la realizaci6n de cualquier condici6n precedente por parte del BANCO,

      y asi mismo renuncia a los derechos de presentaci6n, protesto, notificaci6n de. protesto;




                                                                                AAFAF_CONF _0003667
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      requerimiento de pago, notificaci6n de incumplimiento o falta de pago, relevo,

      compromiso, compensaci6n, transacci6n, pr6rroga, renovaci6n o extensi6n de cualquier

      derecho contractual o instrumento legal y, en general, a toda otra formalidad legal.

               EN TESTWONIO DE LO CUAL, las partes comparecientes otorgan este

      CONTRATO DE PRESTAMO, en San Juan, Puerto Rico, hoy __ de octubre de 2011.


      BANCO GUBERNAMEN TAL DE                     AUTORIDAD DE CARRETERAS Y
      FOMENTO PARA PUERTO RICO                    TRANS:ORTA \ON DE PUERTO RICO

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                                                      I   .
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                                                                        /
                                                       ~
                                                  R1lb~errumde z Gregorat
                        ~ecuti.vo                 Director Ejecuti.vo
                                                  Secretario, Departamento de Transportaci6n
                                                   y Obras Publicas de Puerto Rico

      Testimonio fti!t._ --

             Reconocido y suscrito ante mi por Ruben Hernandez Gregorat, mayor de edad,
  ~~~.,,;1.-  ejecuti.vo y vecino de San Juan, Puerto Rico, en su caracter de Director Ejecutivo de
   :..H-.la-~~~;tad de Carreteras y Transportaci6n de Puerto Rico, y Secretario del
                       de Trasportaci6n y Obras Publicas de Puerto Rico, a quien conozco


                     Juan, Puerto Rico, a ..21_ de octubre de 2011.




             Reconocido y suscrito ante mi por Jose R. Otero Freiria, mayor de edad, casado, y
      vecino de Dorado, Puerto Rico, en su caracter de Vicepresidente Ejecuti.vo de
      Financiamiento del Banco Gubemamental de Fomento para Puerto Rico, a quien conozco
      personalmente.

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                          PRIMERA ENMIENDA A CONTRATO DE PRESTAMO



                     DE LA PRIMERA PARTE: El BANCO GUBERNAMENTAL DE FOMENTO

           PARA PUERTO RICO, una instituci6n bancaria organizada y existente a tenor con

           la Ley Num. 17, aprobada el 23 de septiembre de 1948, segun enmendada, (el

           "BANCO"), representado en este acto por su Vicepresidente Ejecutivo de

           Financiamiento, Jose R. Otero Freiria, mayor de edad, casado y vecino de Dorado,

           Puerto Rico.

                     DE LA SECUNDA PARTE:         La AUTORIDAD DE CARRETERAS Y

           TRANSPORTACI6N DE PUERTO RICO, una entidad juridica, creada en virtud de

           la Ley Num. 74 de 23 de junio de 1965, (la "AUTORIDAD"), segun enmendada,



           Autoridad y Secretario del Departamento de Transportaci6n
                                                                          1
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                                                                     j/
           de edad, casado, y vecino de Guaynabo, Puerto Rico.     J= ·
                                                                   ~l't

t                                             EXPONEN



           otorgaron un Contrato de Prestamo para una linea de credito no rotativa por

           SETENTA Y UN MILL6N CIENTO DIEZ Y NUEVE MIL QUINIENTOS OCHENTA

           Y NUEVE D6LARES ($71,119,589), mas intereses capitalizados, para sufragar la

           conversion al sistema autoexpreso en la PR 22 y PR 5 y para cubrir gastos

           operacionales (el "Contrato de Prestamo Original"). En dicha fecha, la AUTORIDAD

           suscribi6 dos (2) PAGARES a favor del BANCO, uno por la suma de por la suma de



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       $11,397,243 correspondiente a los fondos para sufragar la conversi6n al sistema

       autoexpreso en la PR 22 y PR 5 y otro por la suma de $59,722,346 correspondiente a

       los fondos para sufragar gastos operacionales del primer semestre del afio fiscal 2012;

                 POR CUANTO,                     la referida porci6n de $59,722,346 fue utilizada por la

       AUTORIDAD para gastos operacionales del primer semestre del afio fiscal 2012, y

       los intereses acumulados al 31 de enero de 2012 se proyecta ascenderan a $587,980.35;

                 POR CUANTO, la fuente de repago de esta linea de credito son futuras

       emisiones de bonos de la AUTORIDAD, y productos de futuras alianzas publico

       privadas al igual que ingresos propios;

                 POR CUANTO, al 31 de enero de 2012, esta lfnea de credito posefa unbalance

       de principal ascendente a $59,722,346 y los intereses acumulados al 31 de agosto de

       2013 se proyecta ascenderan a $17,373,844.11;

                 POR CUANTO, la AUTORIDAD presenta la necesidad de un financiamiento

       interino para los meses de febrero a junio de 2012, por la suma de $109,177,741 para

       financiar gastos operacionales;

                 POR CUANTO, la AUTORIDAD presenta ademas la necesidad de un

       financiamiento por $17,424,485 para cubrir el pago de los cargos por asesorfa

       financiera ($50,640.89) y la capitalizaci6n de los intereses al vencimiento



                                       ~fl¾~!.a<:~w'\mcia del BANCO recomend6 se enmiende esta linea de
                                                  ~
       credito                                 de ~-,..&~entarla en la suma de $109,177,741 para financiar
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                            '¾ -"'If
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       gastos operacionales; mas un incremento de $17,424,485 para cubrir los cargos por

       asesoria financiera en la suma de $50,640.89 y la capitalizaci6n de los intereses que

       acumularfa hasta el 31 de agosto de 2013, que ascenderfan aproximadamente a

       $17,373,844.11. Todo lo anterior para un incremento total de $126,602,226, y aumento

       al monto total de la lfnea de credito a un maximo de $197,721,815;

                 POR CUANTO: El 22 de febrero de 2012 la Junta de Directores del BANCO

       aprob6 la Resoluci6n Num. 9719 para conceder a la AUTORIDAD un aumento de

       esta linea de credito ascendiente a $126,602,226 para los anteriores prop6sitos,

       akanzando la linea de credito un maximo de $197,721,815, sujeto a los terminos y

       condiciones allf dispuestos.

                 POR CUANTO: En Resoluci6n Num. 2012-10 de fecha 2 de marzo de 2012

       emitida por la AUTORIDAD, esta acept6 los terminos y condiciones establecidos en

       la referida Resoluci6n Num. 9719 de la Junta de Directores del BANCO.

                 POR LO QUE, en consideraci6n a los hechos afirmados anteriormente y a las

       representaciones, acuerdos y garantias que mas adelante se exponen, las partes

       comparecientes acuerdan y convienen otorgar esta Primera Enmienda a Contrato de

       Prestamo, bajo los siguientes:

                                      TERMINOS Y CONDICIONES

                 PRIMERO: Se enmienda el primer parrafo de la Secci6n 1.1 del Articulo 1




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                             Una vez se otorguen y suscriban los DOCUMENTOS LEGALES que

                      se relacionan en el Articulo 4.1 de este CONTRATO DE PRESTAMO, el

                          BANCO extendera a la AUTORIDAD una LINEA DE CREDITO no

                      rotatoria por la cantidad maxima de principal de CIENTO NOVENTA Y

                          SIETE     MILLONES       SETECIENTOS        VEINTE      Y   UN     MIL

                          OCHOCIENTOS QUINCE DOLARES ($197,721,815). De dicha suma de

                          principal, la AUTORIDAD utilizara la suma de $11,397,243 para la

                      conversi6n al sistema de Auto Expreso en la PR-22 y PR-5; la suma de

                      $59,722,346 para sufragar gastos operacionales del primer semestre del a.no

                      fiscal 2012; la suma de $17,424,485 para cubrir el pago de $50,640.89 por

                      concepto de asesoria financiera y la capitalizaci6n de intereses al

                          vencimiento que ascenderfan a $17,373,844.11; y la suma de $109,177,741

                          para sufragar gastos operacionales del segundo semestre del afio fiscal

                      2012 de la siguiente manera:

                            A.    $16,279,074 para apoyo operacional a la AMA durante el AF 2012

                             B.   $16,891,471 para cumplir con la sentencia relacionada al caso de

                                  Redondo Construction Corp. v. PRHTA, Caso Numero 09-2299

                                  (CCC) ante el Tribunal Federal de Distrito para el Distrito de

                                  Puerto Rico.

                             C.   $42,052,683.27 para saldar las

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                 Aging@ 31- enero-2012
                                             Cuentas por Pagar

                 ACI                                                  $   17,532,109.00
                 TRANSCO RE                                                9,958,933.85
                 FIRST TRANSIT                                             3,382,933.04
                 GENESIS                                                   1,456,878.14
                 INSTRANST                                                   228,463.15
                 SKANSKA                                                   1,100,000.00
                 AAA                                                         984,071.70
                 PRTC                                                        784,361.00
                 DEVELOPMENT AND CONSTRUCTION LAW GROUP, LLC                 750,000.00
                 Bufete Toledo & Toledo                                      900,000.00
                 Bufete Vazques Graciani                                     452,607.00
                 JC BARRIER SOLUTIONS CORP                                   264,105.96
                 LEASEWAY OF PR                                              431,366.50
                 MANGUAL'$ OFFICE CLEANING SERVICE, INC.                     644,487.16
                 NEW STAR ADQU!SITION                                        332,033.80
                 TRIPLE-S SALUD                                            2,638,209.40
                 XEROX CORP                                                  212,123.57
                 AEP
                                                                      $   42,052,683.27



                   D.    $33,954,512.73 para gastos operacionales".

                 SEGUNDO: Para evidendar el referido aumento en monto del principal de la

        referida lfnea de credito, en esta misma fecha la AUTORIDAD suscribe enmiendas a

        cada uno de los dos P AGAR.ES suscritos el 27 de octubre de 2011 en relad6n al

        Contrato de Presta.mo Original. A tales efectos, en esta misma fecha la AUTORIDAD

        suscribe una Primera Enmienda a            Pagare (" Allonge") para incrementar    a

        $12,440,090.81 el monto del PAGARE por $11,397,243 (conversion al sistema de Auto

                                                 rimera Enmienda a Pagare (" Allonge") para




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        incrementar   a $185,281,724.19 el monto del      PAGARE por $59,722,346    (gastos

        operacionales del primer semestre del Afio Fiscal 2012).

              TERCERO: Para los desembolsos de las cuentas por pagar, la AUTORIDAD

        entregara, ademas del formulario de Petici6n de Desembolso (Notice of Drawing)

        dispuesto en el Anejo A del Contrato de Prestamo Original,        el formulario de

        certificaci6n que se hace formar parte de esta Primera Enmienda a Contrato de

        Prestamo como Anejo B, y se seguira el siguiente procedimiento. La AUTORIDAD

        entregara al BANCO temprano en la mafiana: (a) Petici6n de Desembolso (Notice of

        Drawing), (b) Certificaci6n para los Desembolsos de las Cuentas por Pagar, y (c )

        copia del cheque preparado para el suplidor. El BANCO tramitara el desembolso e

        informara a la AUTORIDAD una vez los fondos esten disponibles en la cuenta. La

        AUTORIDAD le solicitara al suplidor que recoja su cheque en la AUTORIDAD y al

        entregar el cheque, la AUTORIDAD solicitara un acuse de recibo. La AUTORIDAD

        enviara inmediatamente copia electr6nica del acuse de recibo al BANCO.

             CUARTO: El Banco podra contratar un consultor para evaluar la situaci6n

        operacional y financiera de la AUTORIDAD segun sea necesario.

             QUINTO: El BANCO y la AUTORIDAD hacen constar expresamente que esta

       enmienda no constituye una novaci6n de la obligaci6n original. Todos los demas

       terminos y condiciones de la Linea de Credito, segun evidenciados por el Contrato de
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                            EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan esta

                  Primera Enmienda a Contrato de Prestamo, en San Juan, Puerto Rico, hoy

                  _§:_ de marzo de 2012.
                  BANCO GUBERNAMENTAL DE                         AUTORIDAD DE CARRETERAS Y
                  FOMENTO PARA PUERTO RICO                       TRA To<'Tl"'ftTACION




                  Jose R.                                        R be Hernandez Gregorat
                  Vicepr                    vo                   Director Ejecutivo y
                  De Fin            ento                         Secretario, Departamento de Transportad6n
                                                                 y Obras Publicas de Puerto Rico

                  Testimonio Num.       6,S1--
                             Reconocido y suscrito ante ne,~or Ruben Hernandez Gregorat, mayor de
                            casado, ejecutivo y vecino de f:ian ~;,-~Puerto Rico, en su caracter de Director
                               o de la Autoridad de Carretera~?transport aci6n de Puerto Rico, y
                                     del Departamento de Trasportaci6n y Obras Publicas de Puerto Rico, a
                             :.....: co personalmente.
                                  C
                            E
                                                    . a _5_ de marzo de 2012.
                                   m Juan, Puerto Rico,




                                                                                   Notario Publico
                  Testimonio Num.-52/9-

                        Reconoddo y suscrito ante mi por Jose R. Otero Freiria, mayor de edad,
                  casado, y vecino de Dorado, Puerto Rico, en su caracter de Vicepresidente Ejecutivo
                  de Financiamiento del Banco Gubernamental de Fomento para Puerto Rico, a quien
                  conozco personalmente.

                            En San Juan, Puerto Rico, a ~ de marzo de 2012.

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                         SEGUNDA ENMIENDA A CONTRATO DE PRESTAMO


                 DE LA PRIMERA PARTE: El BANCO GUBERNAMENTAL DE FOMENTO

          PARA PUERTO RICO, una instituci6n bancaria organizada y existente a tenor con

          la Ley Num. 17, aprobada el 23 de septiembre de 1948, segun enmendada, (el

          "BANCO"), representado en este acto por su Vicepresidente Ejecutivo de

          Financiamiento, Jose R. Otero Freiria, mayor de edad, casado y vedno de Dorado,

          Puerto Rico.

                DE LA SEGUNDA PARTE:               La AUTORIDAD DE CARRETERAS Y

          TRANSPORTACI6N DE PUERTO RICO, una entidad juridica, creada en virtud de

          la Ley Num. 74 de 23 de junio de 1965, (la "AUTORIDAD"), segun enmendada,

          representada en este acto por Ruben A. Hernandez Gregorat, Director Ejecutivo de Ia

          Autoridad y Secretario del Departamento de Transportaci6n y Obras Publicas, mayor

          de edad, casado, y vedno de Guaynabo, Puerto Rico.

                                               EXPONEN

                POR CUANTO: El 27 de octubre de 201t la AUTORIDAD y el BANCO




t
          otorgaron un Contrato de Prestamo para una linea de credito no rotativa por

          SETENT A Y UN MILLON CIENTO DIEZ Y NUEVE MIL QUINIENTOS OCHENTA

          Y NUEVE DOLARES ($71,119,589), mas intereses capitalizados, para sufragar la

          conversi6n al sistema autoexpreso en la PR 22 y PR 5 y para cubrir gastos

          operacionales (el ,,Contrato de Prestamo Originar').




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            POR CUANTO,         el 5 de marzo de 2012, la AUTORIDAD y el BANCO

      suscribieron una Primera Enmienda a Contrato de Prestamo para incrementar por

      $126,602,226, el monto de la l:fnea de credito para un monto total maximo de

      $197,721,815.

            POR CUANTO, la referida Primera Enmienda a Contrato de Prestamo

      dispuso que de dicho incremento la AUTORIDAD utilizarfa la suma de $109)77,741

      para financiar gastos operacionales correspondientes al segundo semestre del afio

     fiscal 2011-2012. Se dispuso que de dicha suma de $109,177,741, la AUTORIDAD

      utilizarfa la suma de $42,052,683.27 para saldar ciertas cuentas pendiente de pago a

     determinados suplidores por determinadas sumas.

            POR CUANTO: la AUTORIDAD y el Banco estiman necesario suscribir esta

     Tercera Enmienda al Contrato de Prestamo para: [1] aclarar que las cuantias de

     cuentas pendiente de pago a suplidores identificadas en el inciso (C) de la secci6n 1.1_

     del Contrato de Prestamo Originat segun enmendado en la Primera Enmienda a

     Contrato de Prestamo, son cuantias estimadas y que la cifra final de cada una de

     estas cuantias esta en proceso de determinarse; y [2] disponer flexibilidad en el uso

     de la suma de $42,052,683.27 para los pagos de estas cuentas por la AUTORIDAD.

            POR LO QUE, en consideraci6n a los hechos afirmados anteriormente ya las

     representaciones, acuerdos y garantias que mas adelante se exponen, las partes

     comparedentes acuerdan y convienen otorgar esta Tercera Enmienda a Contrato de

     Prestamo, bajo los siguientes:




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                                  TERMINOS Y CONDICIO NES

             PRIMERO: Se enmienda la primera oraci6n del indso (C) de la Secci6n 1.1

      del Articulo 1 del Contrato de Prestamo Original, segun enmendado, de forma que el

      referido inciso disponga lo siguiente:

             (C) $42,052,683.27 para saldar las cuentas por pagar a los suplidores que

            se desglosan a continuaci6n, cuyas cuantfas se estiman en la cifra que

            sigue el nombre de cada suplidor, las cuales la AUTORIDAD, con el

            consentimiento del BANCO, podra aumentar o reducir por suplidor,

            segun sea necesario una vez se determine o negocie la cifra final aplicable

             a cada suplidor, sin que la AUTORIDAD exceda el pago maximo de

            $42,052,683.27 autorizado para este prop6sito:

                 Aging@ 31- enero-2012
                                               Cuentas por Pagar

                 ACI                                               $     17,532,109.00
                 TRANSCORE                                                9,958,933.85
                 FIRST TRANSIT                                            3,382,933.04
                 GENESIS                                                  1,456,878.14
                 INSTRANST                                                  228,463.15
                 SKANSKA                                                  1,100,000.00
                 AAA                                                        984,071.70
                 PRTC                                                       784,361.00
                 DEVELOPMENT AND CONSTRUCTION LAW GROUP, LLC                750,000.00
                 Bufete Toledo & Toledo                                     900,000.00
                 Bufete Vazques Graciani                                    452,607.00
                 JC BARRIER SOLUTIONS CORP                                  264,105.96
                 LEASEWAY OF PR                                             431,366.50
                 MANGUAL'S OFFICE CLEANING SERVICE, INC.                    644,487.16
                 NEW STAR ADQUISITION                                       332,033.80
                 TRIPLE-S SALUD                                           2,638,209.40
                 XEROX CORP                                                 212,123.57
                 AEP
                                                                   $     42,052,683.27




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            SGUNDO: El BANCO y la AUTORIDAD hacen constar expresamente que

     esta enmienda no constituye una novaci6n de la obligaci6n original. Todos los demas

     terminos y condiciones de la Linea de Credito, segun evidenciados por el Contrato

     de Prestamo Original, segun enmendado en la Primera Enmienda a Contrato de

     Prestamo, y correspondientes P AGARES, segun enmendados, no inconsistentes con

     lo anterior, continuaran en pleno efecto y vigor.

                            [FIRMAS EN LA PAGINA SIGUIENTE]




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             EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan esta

      Segunda Enmienda a Contrato de Prestamo, en San Juan, Puerto Rico, hoy

      _g_ de marzo de 2012.
        BANCO GUBERNAMENTAL DE                     AUTORIDAD DE CARRETERAS Y
        FOMENTO PARA PUERTO RICO                        -RA PORTACI6N



                                                          ernandez Gregorat
                                                 Director Ejecutivo y Secretario,
                                                 Departamento de Transportaci6n y
                                                 Obras Publicas de Puerto Rico

      Testimonio Num.· 55[)-

             Reconocido y suscrito ante mi por Ruben Hernandez Gregorat, mayor de
      edad, casado, ejecutivo y vecino de San Juan, Puerto Rico, en su caracter de Director
      Ejecutivo de la Autoridad de Carreteras y Transportaci6n de Puerto Rico, y
      Secretario <lei Departamento de Trasportaci6n y Obras Publicas de Puerto Rico, a
      quien conozco personalmente.

            En San Juan, Puerto Rico, a   _g_ de marzo de 2012.
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      Testimonio Num:_0v                                         t/ ·
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            Reconoddo y suscrito ante ,.~~j·::· e'l"se( R. Otero Freirfa, mayor de edad,
      casado, y vecino de Dorado, Puerto Rico, en su caracter de Vicepresidente Ejecutivo
      de Finandamiento del Banco Gubernamental de Fomento para Puerto Rico, a quien
      conozco personalmente.

            En San Juan, Puerto Rico, a   _g_ de marzo de 2012.




                                                                             AAFAF_CONF_0003688
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                      TERCERAENMIENDAACONTRATODEPRE STAMO


               DE LA PRIMERA PARTE: El BANCO GUBERNAMENTAL DE FOMENTO

       PARA PUERTO RICO, una corporaci6n publica del Estado Libre Asociado de

       Puerto Rico creada en virtud de la Ley Num. 17 del 23 de septiembre de 1948, segun

       erunendada (el "BANCO"), representado en este acto por su Vicepresidente Ejecutivo

       y Agente Fiscal, Jorge A. Clivilles Diaz, mayor de edad, casado y vecino de San Juan,

       Puerto Rico.

               DE LA SEGUNDA PARTE: La AUTORIDAD DE CARRETERAS Y

       TRANSPORTACION DE PUERTO RICO, una corporaci6n publica del Estado

       Libre Asociado de Puerto Rico creada en virtud de la Ley Num. 74 de 23 de junio de

       1965, segun enmendada (la" AUTORIDAD"), representada en este acto por Javier E.

       Ramos Hernandez, Director Ejecutivo, mayor de edad, casado y vecino de Bayamon,

       Puerto Rico.

               A menos que un tennino escrito en letras mayusculas sea definido de otra form.a

       en esta Tercera Enmienda a Contrato de Prestamo (en adelante, la "TERCERA

       ENJ\11IENDA AL CONTRATO DE PRESTAMO"), el mismo tendra el significado

       adscrito en el CONTRATO DE PRESTAMO segun se define mas adelante.

                                             EXPONEN

               POR CUANTO: El 27 de octubre de 2011, la AUTORIDAD y el BANCO

       otorgaron un Contrato de Prestamo para una LINEA DE CREDITO no rotativa por

       $71,119,589, mas intereses capitalizados, con el prop6sito de sufragar la conversi6n al



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       sistema Auto Expreso en las carreteras PR-22 y PR-5 y para cubrir gastos

       operacionales del primer semestre del Afio Fiscal 2012 (en adelante, el "CONTRATO

       DE PRESTAMO").

               POR CUANTO: En la rnisma fecha del otorgarniento del CONTRATO DE

      . PRESTAMO, la AUTORIDAD suscribi6 dos P AGAR.ES a favor del BANCO, uno por

       la cantidad de $11,397,243 correspondiente a los fondos para sufragar la conversion

       al sistema Auto Expreso en la PR-22 y PR-5, y el otro por la cantidad de $59,722,346

       correspondiente a los fondos para sufragar los gastos operacionales del primer

       semestre del afio fiscal 2012.

               POR CUANTO:         El 5 de marzo de 2012, el BANCO y la AUTORIDAD

        suscribieron una Primera Enmienda a Contrato de Prestamo a los fines de incrementar

        la LINEA DE CREDITO por una cuantia adicional de $126,602,226 para financiar

        gastos operacionales, cubrir los cargos por asesoria financiera y la capitalizaci6n de

        intereses hasta el 31 de agosto de 2013. A tenor con dicho incremento, el monto total

        maximo de la LINEA DE CREDITO qued6 aumentado a $197,721,815. En esa misma

        fecha, la AUTORIDAD suscribi6 una Primera Ernnienda a Pagare (" Allonge") para

        incrementar a $12,440,090.81 el monto del PAGARE por $11,397,243 (conversi6n al

        sistema de Auto Expreso en la PR-22 y PR-5), y una Primera Enmienda a Pagare

        (" Allonge") para incrementar a $185,281,724.19 el monto del P AGARE por $59,722,346

        (gastos operacionales del primer semestre del Afio Fiscal 2012).




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               POR CUANTO: El 9 de marzo de 2012, el BANCO y la AUTORIDAD otorgaron

        una Segunda Emnienda a Contrato de Prestamo con el prop6sito de establecer que las

        cuantias de las cuentas por pagar a los suplidores desglosados en el inciso (C) de la

        Secci6n 1.1 del CONTRATO DE PRESTAMO son estimadas y para dar flexibilidad en

        el uso de Ios fondos destinados al pago de dichas cuentas por pagar. Esta Segunda

        Emnienda a Contrato de Prestamo no conllev6 modificaci6n o enrnienda alguna a los

        PAGA.RES.

               POR CUANTO: La LINEA DE CREDITO tiene una vigencia hasta el 31 de

       agosto de 2013 y la fuente de repago de la misma son futuras emisiones de bonos y

       productos de futuras alianzas publico privadas, al igual que ingresos propios de la

       AUTORIDAD.

               POR CUANTO: Al 30 de junio de 2013, la LINEA DE CREDITO tiene un

       balance de principal ascendente a $171,301,740.88 e intereses acumulados por

       $11,274,053.04.

               POR CUANTO: La gerencia del BANCO ha recomendado enmendar la

       LINEA DE CREDITO con el prop6sito de extender su vigencia hasta el 31 de agosto

       de 2014.

               POR CUANTO: Mediante la Resoluci6n Num. 10102 adoptada en reunion

       celebrada el 17 de julio de 2013, la Junta de Directores del BANCO ha autorizado

       enmendar el CONTRATO DE PRESTAMO a los fines de extender la fecha de




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       vencimiento de la obligaci6n hasta el 31 de agosto de 2014, entre otros terminos y

       condiciones.

               POR CUANTO: La AUTORIDAD ha aceptado los terminos y condiciones

       establecidos por el BANCO para la presente enmienda de conformidad con la

       Resoluci6n Num. 2013-36 emitida el 16 de agosto de 2013 por su Junta de Directores.

               POR LO QUE, en consideraci6n a los hechos afirmados anteriormente y a las

        representaciones, acuerdos y garantias que mas adelante se exponen, las partes

        acuerdan y convienen otorgar esta TERCERA ENMIENDA A CONTRATO DE

        PRESTAMO, bajo los siguientes:

                                   TERMINOS Y CONDICIONES

               PRIMERO: Se enmienda la prirriera oraci6n de la Secci6n 1.3 del Artfculo 1

        del CONTRATO DE PRESTAMO para que disponga Io siguiente:

                      "El principal de la LINEA DE CREDITO mas los intereses
                      capitalizados sera pagadero el 31 de agosto de 2014."


               SEGUNDO: En esta misma fecha la AUTORIDAD suscribe enmiendas a cada

       .uno de los dos PAGAR.ES, segun enmendados. A tales efectos, en esta misma fecha

       la AUTORIDAD suscribe las respectivas Segunda Enmienda a Pagare (" Allonge")

       correspondiente a cada P AGARE. Cada ALLONGE se hara fonnar parte de los

       respectivos PAGARES suscritos por Ia AUTORIDAD, segun enmendados, con el

       prop6sito de incorporar los acuerdos y enmiendas aqui consignadas.




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               TERCERO: La AUTORIDAD reconoce, conviene y acepta pagar al BANCO

       honorarios por servicios de asesorfa financiera igual a una veinticincoava (1/25)

       parte del uno por ciento (1 %) hasta $100 millones y una treintava (1/30) parte del

       uno por ciento (1 %) sobre $100 millones, para un total de Setenta y Dos Mil

       Quinientos Setenta y       Tres   D6lares Con      Noventa y     Cuatro   ($72,573.94)

       correspondientes a esta transacci6n y segun la polftica vigente del BANCO.

               CUARTO: Esta TERCERA ENlVITENDA AL CONTRATO DE PRESTAMO y

       los respectivos ALLONGES no constituyen una novaci6n de las obligaciones de la

       AUTORIDAD bajo el CONTRATO DE PRESTAMO y PAGARE, segun aqui

       enmendados. Todos los demas terminos y condiciones del CONTRATO DE

       PREST AMO y el PAGARE, segun enmendados, que no contravengan lo aqui

       acordado, permaneceran inalterados yen pleno vigor.

               QUINTO: Esta TERCERA ENMIENDA AL CONTRATO DE PRESTAMO se

       suscribe de conformidad con la Resoluci6n 10102 adoptada por la Junta de Directores

       del BANCO el 17 de julio de 2013, la cual se aprob6 como una Dedaraci6n de

       Intenci6n bajo la Secci6n 1.150-2 de la Regulaci6n del Departamento del Tesoro

       Federal (U.S. Treasury Department Regulation Section 1.150-2).

                                 [FIRMAS EN LA SIGUIENTE P AGIN A]




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                        EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan esta

              Tercera Enmienda a Contrato de Prestamo, en San Juan, Puerto Rico, hoy

              ""2 '6   de agosto de 2013.

              BANCO GUBERNAMENTAL DE                        AUTORIDAD DE CARRETERAS Y
              FOMENTO PARA PUERTO RICO                      TRANSPORTACION



              Jor       ivilles Diaz
              Vicep s1dente Ejecutivo
              y Agente Fiscal

              Testimonio Nurn. ~,J-




               Testimonio Num.      g~
                     Reconocido y suscrito ante mi por Jorge A. Clivilles Diaz, mayor de edad,
               casado y vecino de San Juan, Puerto Rico, en su caracter de Vicepresidente Ejecutivo
               y Agente Fiscal del Banco Gubernamental de Fomento para Puerto Rico, a quien
               conozco personalmente.

                        En San Juan, Puerto Rico, a :if de agosto de 2013.




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                      CUART A ENMIENDA A CONTRATO DE PRESTAMO


               DE LA PRIMERA PARTE: El BANCO GUBERNAMENTAL DE FOMENTO

       PARA PUERTO RICO, una corporaci6n publica del Estado Libre Asociado de

       Puerto Rico creada en virtud de la Ley Num. 17 del 23 de septiembre de 1948, segun

       enmendada (el "BANCO"), representado en este acto por su Vicepresidente Ejecutivo

       y Agente Fiscal, Jorge A. Clivilles Diaz, mayor de edad, casado, ejecutivo y vecino de

       San Juan, Puerto Rico.

               DE LA SEGUNDA PARTE: La AUTORIDAD DE CARRETERAS Y

       TRANSPORTACION DE PUERTO RICO, una corporaci6n publica del Estado

       Libre Asociado de Puerto Rico creada en virtud de la Ley Num. 74 de 23 de junio de

       1965, segun enmendada (la" AUTORIDAD"), representada en este acto por Javier E.

       Ramos Hernandez, Director Ejecutivo, mayor de edad, casado, ingeniero y vecino de

       Bayamon, Puerto Rico.

               A menos que un termino escrito en letras mayusculas sea definido de otra forma

       en esta Cuarta Enmienda a Contrato de Prestamo (en adelante, la "CUART A

       ENlMIENDA AL CONTRATO DE PRESTAMO"), el mismo tendra el significado

       adscrito en el CONTRATO DE PRESTAMO segun se define mas adelante.

                                             EXPONEN

               POR CUANTO: El 27 de octubre de 2011, la AUTORIDAD y el BANCO

       otorgaron un Contrato de Prestamo para una LINEA DE CREDITO no rotativa por

       $71,119,589, mas intereses capitalizados, con el prop6sito de sufragar la conversion al



       30900
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       sistema Auto Expreso en las carreteras PR-22 y PR-5 y para cubrir gastos

       operacionales del primer semestre del Afio Fiscal 2012 (en adelante, el "CONTRATO

       DE PREST AMO").

               POR CUANTO: En la misma fecha del otorgamiento del CONTRATO DE

       PRESTAMO, la AUTORIDAD suscribi6 dos Pagan~s a favor del BANCO, uno por la

       cantidad de $11,397,243 corr~spondiente a los fondos para sufragar la conversion al

       sistema Auto Expreso en la PR-22 y PR-5, y el otro por la cantidad de $59,722,346

       correspondiente a los fondos para sufragar los gastos operacionales del primer

       semestre del Afio Fiscal 2012 (en adelante "PAGARE" y, conjuntamente, los

       ("P AGARES").

               POR CUANTO:        El 5 de marzo de 2012, el BANCO y la AUTORIDAD

        suscribieron una Primera Enmienda a Contrato de Prestamo a los fines de incrementar

        la LINEA DE CREDITO por una cuantia adicional de $126,602,226 para finandar

        gastos operacionales, cubrir los cargos por asesorfa financiera y la capitalizaci6n de

        intereses hasta el 31 de agosto de 2013. A tenor con dicho incremento, el monto total

        maximo de la LINEA DE CREDITO qued6 aumentado a $197,721,815. En esa misma

        fecha, la AUTORIDAD suscribi6 una Primera Enmienda a Pagare (" Allonge") para

        incrementar a $12,440,090.81 el monto del PAGARE por $11,397,243 (conversion al

        sistema de Auto Expreso en la PR-22 y PR-5), y una Primera Enmienda a Pagare

        (" Allonge") para incrementar a $185,281,724.19 el monto del PAGARE por $59,722,346

        (gastos operacionales del primer semestr~ del Afio Fiscal 2012).




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               POR CUANTO: El 9 de marzo de 2012, el BANCO y la AUTORIDAD otorgaron

        una Segunda Enmienda a Contrato de Prestamo con el prop6sito de establecer que las

        cuantias de las cuentas por pagar a los suplidores desglosados en el inciso (C) de la

        Secci6n 1.1 del CONTRATO DE PRESTAMO son estimadas y para dar flexibilidad en

        el uso de los fondos destinados al pago de dichas cuentas por pagar. Esta Segunda

        Enmienda a Contrato de Prestamo no conllev6 modificaci6n o enmienda alguna a los

        PAGARES.

               POR CUANTO: El 28 de agosto de 2013, el BANCO y la AUTORIDAD

       suscribieron una Tercera Enmienda a Contrato de Prestamo para extender su

       vigencia hasta el 31 de agosto de 2014. En esa misma fecha, la AUTORIDAD

       suscribi6 las respectivas Segunda Enmienda a Pagare C' Allonge") a los P AGAR.ES a

       fin de extender las fechas de vencimientos de los mismos de conformidad con lo

       anterior.

               POR CUANTO: Al 31 de mayo de 2014, la LINEA DE CREDITO tenia un

       balance de principal ascendente a $171,604,829 e intereses acumulados por

       $20,846,634.

               POR CUANTO: La LINEA DE CREDITO tiene fondos disponibles para

       desembolsar por las cantidades de $1,902,502.87 para los gastos operacionales del

       Afio Fiscal 2012, y $6,840,638.86 para el financiamiento de la conversion al sistema

       Auto Expreso de las carreteras PR-22 y PR-5.

               POR CUANTO: El 25 de junio de 2013, la Asamblea Legislativa del Estado

       Libre Asociado de Puerto Rico aprob6 las Leyes 30 y 31-2013, las cuales incrementan


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       los ingresos de la AUTORIDAD para que pueda continuar con su programa de

       emisiones de bonos para el pago de las lineas de credito con el BANCO.

               POR CUANTO: La LINEA DE CREDITO tuvo una vigencia Rasta el 31 de

       agosto de 2014, y la fuente de repago de la misma son futuras emisiones de bonos y

       productos de futuras alianzas publico privadas, al igual que ingresos propios de la

       AUTORIDAD.

               POR CUANTO: La gerencia del BANCO ha recomendado enmendar la

       LINEA DE CREDITO con el prop6sito de extender su vigencia hasta el 31 de agosto

       de 2015 y establecer el pago de intereses al vencimiento.

               POR CUANTO: Mediante la Resoluci6n Num. 10368 adoptada en reunion

       celebrada el 27 de junio de 2014, la Junta de Directores del BANCO autoriz6 enmendar

       el CONTRATO DE PRESTAMO a los fines de extender la fecha de vencimiento de la

       obligaci6n hasta el 31 de agosto de 2015, entre otros terminos y condiciones.

               POR CUANTO: La AUTORIDAD ha aceptado los terminos y condiciones

       establecidos por el BANCO para la presente enmienda mediante la aprobaci6n de la

       Resoluci6n Num. 2014-74 adoptada el 22 de septiembre de 2014 por la Junta de

       Directores de la AlITORIDAD.

               POR LO QUE, en consideraci6n a los hechos afirmados anteriormente y a las

       representaciones, acuerdos y garantias que mas adelante se exponen, las partes

       acuerdan y convienen otorgar esta CUARTA ENMIENDA A CONTRATO DE

       PRESTAMO, bajo los siguientes:




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                                          TERMINOS Y CONDICIONES

                      PRIMERO: Se enmienda la primera oraci6n de la Secci6n 1.3 del Articulo 1

              del CONTRATO DE PREST AMO para que disponga lo siguiente:

                            "El principal de la LINEA DE CREDITO mas los intereses
                            capitalizados seran pagaderos el 31 de agosto de 2015."


                      SEGUNDO: En esta misma fecha, la AUTORIDAD suscribe las respectivas

              Tercera Enmienda a Pagare (" ALLONGE") correspondientes a cada P AGARE, segun

              enmendados. Cada ALLONGE se hara formar parte de las respectivos P AGARES

              con el prop6sito de incorporar los acuerdos y enmiendas aquf consignadas.

                      TERCERO: La AUTORIDAD reconoce, conviene y acepta pagar al BANCO

              honorarios por servidos de asesorfa financiera igual a una veinticincoava (1/25)

              parte del uno por ciento (1 %) hasta Cien Millones ($100,000,000) y una treintava

              (1/30) parte del uno por ciento (1 %) sobre Cien Millones ($100,000,000), para un total

              de Setenta y Dos Mil Quinientos Setenta y Tres D6lares con Noventa y Cuatro

              ($72,573.94), correspondientes a esta transacci6n y segun la politica vigente del

              BANCO.

                      CUARTO: Esta CUARTA ENMIENDA AL CONTRATO DE PRESTAMO y

              cada ALLONGE no constituyen una novaci6n de las obligaciones de la AUTORIDAD

              bajo el CONTRATO DE PREST AMO y P AGARES, segun aquf enmendados. Todos

              los demas terminos y condiciones del CONTRATO DE PRESTAMO y los PAGARES,

~             segun enmendados, que no contravengan lo aqui acordado, permaneceran
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                     EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan esta

              Cuarta Enmienda a Contrato de Prestamo, en San Juan, Puerto Rico, hoy

              q    de diciembre de 2014.

              BANCO GUBERNAMENTAL DE                        AUTORIDAD DE CARRETERAS Y
              FOMENTO PARA PUERTO RICO                      TRANSPORTACI6N




              Jorge . liv ' Diaz                             vier E. Ramos Hernandez
              Vicepre 1       jecutivo                      Director Ejecutivo
              y Agente Fiscal

              Testimonio Num.1J21L

                     Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad,
              casado, ingeniero y vecino de Bayam6n, Puerto Rico, en su caracter como Director Ejecutivo
              de la Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien conozco
              personalmente.
               ~~t.\ Riv
            ~v. :.--~~~          , Puerto Rico, a _J_ de diciembre de 2014.


                                 EXENTO DEL PAGO DE ARANCE~~~~~~~.4-t--~
                             •    LEY 47 DE 4 DE JUNIO OF 1,..,-


              Testimonio Num. I ,011-

                     Reconocido y suscrito ante mi por Jorge A. Clivilles Diaz, mayor de edad,
              casado, ejecutivo y vecino de San Juan, Puerto Rico, en su caracter de Vicepresidente
              Ejecutivo y Agente Fiscal del Banco Gubernamental de Fomento para Puerto Rico, a
              quien conozco personalmente.

                    En San Juan, Puerto Rico, a _J__ de diciembre de 2014.



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                                               LOAN AGREEMENT

               THE FIRST PARTY: The BANCO GUBERNAMENTAL DE FOMENTO PARA

        PUERTO RICO, a banking institution organized and existing under the provisions of Law No. 17 of

        September 23, 1948, as amended, represented in this act by its Executive Vice President and Fiscal

        Agent, José R. Otero Freiría, adult, married and a resident of Dorado, Puerto Rico.

               THE SECOND PARTY: The HIGHWAYS AND TRANSPORTATION AUTHORITY OF

        PUERTO RICO, a legal entity, established pursuant to Law No. 74 of June 23, 1965, as amended,

        (the “AUTHORITY”) represented in this act by Rubén A. Hernández Gregorat, Executive Director of

        the AUTHORITY and Secretary of the Department of Transportation and Public Works, adult, married,

        engineer and a resident of Guaynabo, Puerto Rico, as authorized by Resolution No. [hw:] 2011-66 dated

        October [hw:] 27, 2011 issued by the Department of Transportation and Public Works of Puerto Rico.

                                                    PREAMBLE

               WHEREAS: The AUTHORITY is interested in obtaining financing to bear the cost of the

[initials] conversion to the autoexpress system on the PR 22 and PR 5 and to cover operating expenses.

               WHEREAS: On September 21, 2011, the Board of Directors of the BANK approved Resolution

        No. 9624 in order to grant to the AUTHORITY non-revolving credit line for the maximum amount of

        SEVENTY-ONE MILLION ONE HUNDRED NINETEEN THOUSAND FIVE HUNDRED

        EIGHTY-NINE DOLLARS ($71,119,589) for the purposes above.



        [stamp:] MARIA DE LOURDES RODRIGUEZ Attorney-Notary
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                     THEREFORE, in consideration of the facts confirmed above and the representations, agreements and

             guarantees that are set forth below, the parties that appear approve and agree to grant this LOAN AGREEMENT.

                                                               ARTICLE 1.

                                                                  LOAN
                                                                                      [stamp:] MARIA DE LOURDES
             1.1     Credit Line:                                                     RODRIGUEZ
                                                                              Attorney-Notary
                     After the LEGAL DOCUMENTS referred to in Article 4.1 of this LOAN AGREEMENT are issued and

             signed, the BANK shall extend to the AUTHORITY a non-rotating CREDIT LINE for the maximum amount of

             principal of SEVENTY-ONE MILLION ONE HUNDRED NINETEEN THOUSAND FIVE

             HUNDRED EIGHTY-NINE DOLLARS ($71,119,589), plus capitalized interest. Of that principal

             amount, the AUTHORITY shall use the sum of $11,397,243 for conversion to the Auto Expreso system

             on the PR-22 and PR-5, and the sum of $59,722,346 to bear the cost of operating expenses of the first

             six months of Fiscal Year 2012.

                     The CREDIT LINE shall be evidenced by two PROMISSORY NOTES one for the sum of $11,397,243

[initials]   and the other for the sum of $59,722,346, signed on the same date that this LOAN AGREEMENT is signed and

             payable to the order of the BANK.

             1.2     Interest Rate:

                     The AUTHORITY approves and agrees to pay interest on the unpaid balance of principal of the CREDIT

             LINE calculated on and actual basis/360 days, a rate equivalent to the Prime Rate plus 150 basis points, which

             shall never be less than six percent (6%), or the interest rate that the President of the BANK or his designee

             determines, according to the market interest rate. The interest shall be capitalized upon
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             expiration. If on the expiration date of the repayment obligation the AUTHORITY has not paid the unpaid

             balance of the principal, the AUTHORITY shall pay interest on that sum computed based on 200 basis points

             over the rate that would apply under this LOAN AGREEMENT. The AUTHORITY authorizes the BANK and

             grants it authority without any requirement of notice, to apply the right to set off against the obligations that arise

             in this LOAN AGREEMENT, by making any application of payments of any sum of money that belongs to the

             AUTHORITY in the possession of the BANK for the payment of the LOAN AGREEMENT and accrued interest,

             in case of breach by the AUTHORITY of its payment obligations under the LOAN AGREEMENT.

                                                                         [stamp:] MARIA DE LOURDES RODRIGUEZ
                                                                         Attorney-Notary
             1.3     Term and Source of Payment:

                     The principal of the CREDIT LINE shall be payable on August 31, 2013. The source of payment shall

             be future issuances of bonds and income from private-public alliances as well as from the income of the

             AUTHORITY.


             1.4     Disbursements
[initials]
                     The AUTHORITY shall request disbursements in writing three business days in advance. The

             disbursement request shall include a certification form (notice of drawing) which is the same as Annex A of this

             Agreement, in which the Executive Director of the AUTHORITY, or the person that he designates, shall certify

             the need for the funds and the justification for their use. The AUTHORITY shall include, in addition, any other

             documentation that the BANK in its full discretion requests from it prior to the disbursement, including, but not

             limited to, copies of invoices. The disbursements under this financing are subject to compliance by the
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             AUTHORITY with the Fiscal Agency Area of the BANK for the conditions stipulated in the Fiscal Oversight

             Agreement (FOA) that the AUTHORITY may have in effect with the BANK. The management of the BANK

             shall assign an external auditor to verify the operating expenses and to authorize the disbursements, as a condition

             of such disbursements.


             [stamp:] MARIA DE LOURDES RODRIGUEZ Attorney-Notary




                                                                    ARTICLE 2.
                                                        AFFIRMATIVE AGREEMENTS


             2.1     Other Conditions:


                     The AUTHORITY approves and agrees:


                     (a) to provide to the BANK a certification confirming that the positions whose personal resigned

             pursuant to Law No. 70 of July 2, 2010, are and continue to be frozen;


                     (b) to pay to the BANK the sum of $35,559.79 (1/20 of 1% of $71,119,589) for professional fees

             corresponding to this transaction, according to the policy in effect of the BANK, which may be included as part
[initials]
             of this financing, if necessary.


                     (c) that contracts for more than $10,000 shall be approved by the Fiscal Agency Area of the BANK.


                     (d) to provide to the BANK the list of contracts by type of service to be reviewed by the Fiscal Agency

             Area of the BANK.


                     This LOAN AGREEMENT is granted as an official statement of intent under United States Treasury

             Department regulation, Section 1.150-2.


             2.1 [sic]        Ground of Breach:
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              The AUTHORITY shall notify the BANK of any condition, fact or occurrence that may constitute a

      ground of breach or pursuant to the notification of which or the mere passage of time, or both, may constitute a

      ground of breach, by delivering to the BANK a certification signed by one of its officials, specifying the nature

      of such ground, the time during which it has existed, and what course of action the AUTHORITY proposes to

      initiate with respect to them. Such notification shall be sent to the BANK within ten (10) days after the occurrence

      of the breach.


      2.2     Payment for Extrajudicial Actions for Collection, Fees, Expenses, etc.:


              At the request of the BANK, the AUTHORITY shall promptly reimburse the BANK for the payment of

      costs, expenses and attorney’s fees incurred by the BANK in extrajudicial collection actions of any late

      instalment in relation to the CREDIT LINE owed by the AUTHORITY. The failure by the AUTHORITY to

      reimburse such costs, expenses and attorney’s fees shall constitute a ground of breach on the CREDIT LINE.


              Such costs, expenses and attorney’s fees incurred by the BANK in accordance with the provisions of

         this LOAN AGREEMENT shall be reimbursed by the AUTHORITY immediately upon request.
[initials]

      2.3     Breach under the Legal Documents:


              The AUTHORITY agrees that any breach of the terms of the PROMISSORY NOTE and/or the

      obligation letter shall be deemed at the same time to be a breach of this LOAN AGREEMENT and vice versa,

      and if it occurs, the BANK shall immediately have the right to enforce any of the




      [stamp:] MARIA DE LOURDES RODRIGUEZ Attorney-Notary
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             that may be conferred by any of the LEGAL DOCUMENTS.

             2.4    Authorization to Take Collateral:

                    The AUTHORITY has taken the appropriate and necessary measures, official or of another type, to

             authorize the issuance and delivery of the LEGAL DOCUMENTS without any limitation.

                                                     [stamp:] MARIA DE LOURDES RODRIGUEZ Attorney-Notary




                                                             ARTICLE 3.


                                                             BREACHES


             3.1    Grounds of Breach:


                    Each of the following shall constitute a ground of breach under the terms of this LOAN AGREEMENT:


                    3.1.1   if any representation given or extended by the AUTHORITY to the BANK in any of the

                            procedures and LEGAL DOCUMENTS or if any report, guarantee or financial certificate or any

                            other type of document provided to the BANK in relation to this LOAN AGREEMENT is found

                            to be false or misleading;


                    3.1.2   failure to pay principal and interest and their penalties, if any, of the CREDIT LINE on their due

                            date in accordance with the terms of any of the LEGAL DOCUMENTS;


                    3.1.3   breach or violation by the AUTHORITY of any of the terms, clauses and conditions agreed to
[initials]
                            with the BANK in the LEGAL DOCUMENTS; or
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                     3.1.4   the failure by the AUTHORITY to remedy or cure within a time period of thirty (30) days from

                             its occurrence, without prior written notice by the BANK, any breach of the terms, clauses and

                             conditions of this LOAN AGREEMENT. This does not apply to the terms and conditions related

                             to the obligations to pay the LOAN AGREEMENT, since the AUTHORITY shall strictly

                             comply with such payment when it is due.


             3.2     Remedies:


                     When any of the grounds of breach listed in Article 3.1 of this LOAN AGREEMENT occurs, and if

             such breach is not cured or remedied as provided, without any need to send any notice of breach, the rights to

             which the AUTHORITY hereby waives the granting, the BANK may:


                     3.2.1   proceed to claim the payment of the unpaid balance of the CREDIT LINE; or

[initials]           3.2.2   file a court proceeding requesting the specific performance of any term, clause or condition of

                             any of the LEGAL DOCUMENTS, or a temporary or permanent injunction to prevent the

                             AUTHORITY from violating any such terms, clauses or conditions; or


                     3.2.3   to enforce any other remedy to which it has a right under the laws of the Commonwealth of

                             Puerto Rico.




                     [stamp:] MARIA DE LOURDES RODRIGUEZ Attorney-Notary
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                                                              ARTICLE 4.


                                                  MISCELLANEOUS PROVISIONS


             4.1     Legal Documents:


                     As used in this LOAN AGREEMENT, the term LEGAL DOCUMENTS means:


                             1. PROMISSORY NOTE


                             2. LOAN AGREEMENT


             4.2     Waivers, Relief, Extensions, Forbearance and Additional Remedies:


                     No delay or late performance by the BANK or by any holder or owner of the PROMISSORY NOTE in

             the enforcement of any right, authority or remedy that it may have in accordance with the terms of any of the

             LEGAL DOCUMENTS shall be deemed to be a waiver, limitation or reduction of such rights, authorities or

             remedies, and the partial or exclusive enforcement of any of them shall not be an impediment for them to

             subsequently be fully enforced, including, but not limited to, the right to offset. Remedies in favor of the BANK

             provided in the LEGAL DOCUMENTS shall be deemed to be in addition to, any not to exclude, any other

             remedy set forth in law. For any relief, extension or forbearance extended by the BANK to the AUTHORITY,

             or any amendment to this LOAN AGREEMENT to be enforceable, it shall appear in writing signed by an

             authorized official of the BANK, which shall specifically state the scope of the relief, extension, forbearance or

             amendment granted. Any relief, extension, forbearance or amendment granted shall be valid only for the

             occurrence or potential occurrence for which it was granted.




             [stamp:] MARIA DE LOURDES RODRIGUEZ Attorney-Notary
[initials]
             4.4     Addresses for Notices, etc.:
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                     Any notice, claim, directive or other communication provided by the LEGAL DOCUMENTS shall be

             recorded in writing and shall be delivered in person or sent by fax or mail to the following addresses:

                     TO THE “AUTHORITY”:


                     Highways and Transportation Authority
                     Department of Transportation and Public Works
                     P.O. Box 42007

                     San Juan, Puerto Rico 00940-2007
                     (787) 721-8787

                     Attention: Executive Director    [stamp:] MARIA DE LOURDES RODRIGUEZ Attorney-Notary

                     TO THE “BANK”:

                     Banco Gubernamental de Fomento para Puerto Rico
                     P.O. Box 42001
                     San Juan, Puerto Rico 00940-2001
                     Fax: (787) 721-1443

                     Attention: President

             or to any other address that the parties indicate by written notice sent in accordance with the provisions in this

             Article. These shall be deemed to be perfected after they have been duly deposited postmarked in the mail and

             sent to the addresses stated.

             4.5     Successors and Beneficiaries:

                     The agreements and clauses contained herein shall obligate and benefit the parties and their respective

             beneficiaries, executors, administrators, successors and assignees.
[initials]
             4.6     Waivers by the AUTHORITY of Presentation, Protest, etc.:

                     The AUTHORITY waives any notice of acceptance or demand or requirement to meet any condition

             precedent by the BANK, as well as waiver of rights of presentation, protest, notice of protest, payment request,
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       notice of breach or failure to pay, release, compromise, set-off, settlement, extension, renewal or extension of

       any contractual right or legal instrument and, in general, any other legal formality.

                IN WITNESS WHEREOF, the parties who appear grant this LOAN AGREEMENT, in San Juan,

       Puerto Rico, on October ____, 2011.

        BANCO GUBERNAMENTAL DE                                   HIGHWAYS AND TRANSPORTATION
        FOMENTO PARA PUERTO RICO                                 AUTHORITY OF PUERTO RICO

                [signature]                                              [signature]
        José R. Otero Freiría                                    Rubén Hernández Gregorat
        Executive Vice President                                 Executive Director
                                                                 Secretary, Department of Transportation
                                                                 and Public Works of Puerto Rico

       Statement [hw:] 624 ----

               Acknowledged and signed before me by Rubén Hernández Gregorat, adult, married, executive and
       resident of San Juan, Puerto Rico, in his capacity as Executive Director of the Highways and Transportation
       Authority of Puerto Rico, and Secretary of the Department of Transportation & Public Works of Puerto Rico,
       whom I know personally.

              In San Juan, Puerto Rico, on October [hw:] 27, 2011.
        [stamp:] MARIA DE
        LOURDES
        RODRIGUEZ
        ATTORNEY-NOTARY                                                                        [signature]
                                                                                               Public Notary


[initials]Statement [hw:] 306


               Acknowledged and signed before me by José R. Otero Freiría, adult, married, and resident of Dorado,
       Puerto Rico, in his capacity as Executive Vice President of Financing of the Banco Gubernamental de Fomento
       para Puerto Rico, whom I know personally.

              In San Juan, Puerto Rico, on October [hw:] 27, 2011.
        [stamp:] BELEN
        FORNARIS ALFARO
        PUERTO RICO
        ATTORNEY-NOTARY                                                                        [signature]
                                                                                               Public Notary

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                                         FIRST AMENDMENT TO LOAN AGREEMENT

                       THE FIRST PARTY: The BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO RICO,

             a banking institution organized and existing pursuant to Law No. 17, approved on September 23, 1948, as

             amended (the “BANK”), represented in the act by José R. Otero Freiría, adult, married and resident of Dorado,

             Puerto Rico.

                       THE SECOND PARTY: The HIGHWAYS AND TRANSPORTATION AUTHORITY OF

             PUERTO RICO, a legal entity established pursuant to Law No. 74 of June 23, 1965, as amended (the

             “AUTHORITY”), represented in this act by Rubén A. Hernández Gregorat, Executive Director of the Authority

             and Secretary of the Department of Transportation & Public Works, adult, married, and a resident of Guaynabo,

             Puerto Rico.
[initials]


             [stamp:] MARIA DE LOURDES RODRIGUEZ Attorney-Notary



                                                            PREAMBLE

                       WHEREAS, On October 27, 2011, the AUTHORITY and the BANK granted a Loan Agreement for a

             non-revolving credit line for SEVENTY-ONE MILLION ONE HUNDRED NINETEEN THOUSAND FIVE

             HUNDRED EIGHTY-NINE DOLLARS ($71,119,589), plus capitalized interest to bear the costs of the

             conversion to the autoexpress system on the PR 22 and PR 5 and to cover operating expenses (the “Original

             Loan Agreement”). On that date, the AUTHORITY signed two (2) PROMISSORY NOTES in favor of the

             BANK, one for the sum of [sic]



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$11,397,243 corresponding to the funds to bear the cost of the conversion to the autoexpress system on the PR

22 and PR 5 and the other for the sum of $59,722,346 corresponding to the funds to bear the cost of operating

expenses of the first six months of Fiscal Year 2012;

          WHEREAS, the referenced portion of $59,722,346 was used by the AUTHORITY for operating

expenses of the first six months of Fiscal Year 2012, and the accrued interest as of January 31, 2012 is projected

to total $587,980.35;

          WHEREAS, the source of repayment of this credit line are future issuances of bonds by the

AUTHORITY, and income from future public private alliances as well as income of the AUTHORITY;

          WHEREAS, on January 31, 2012, this credit line had a principal balance that totaled $59,722,346 and

accrued interest as of August 31, 2013 is projected to total $17,373,844.11;

          WHEREAS, the AUTHORITY requires interim financing for the months of February through June

2012, for the sum of $109,177,741 to finance operating expenses;

          WHEREAS, the AUTHORITY in addition requires financing for $17,424,485 to cover the payment of

fees for financial consulting services ($50,640.89) and the capitalization of interest upon expiration

($17,373,844.11);

          WHEREAS: The management of the BANK has recommended to amend this credit line for the purpose

of increasing it to the sum of $109,177,741 to finance




[stamp:] MARIA DE LOURDES RODRIGUEZ Attorney-Notary




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operating expenses; plus an increase of $17,424,485 to cover fees for financial consulting in the amount of

$50,640.89 and the capitalization of the interest that would accrue until August 31, 2013, that would total

approximately $17,373,844.11. All of the above for a total increase of $126,602,226, and increase to the total

amount of the credit line to a maximum of $197,721,815;

          WHEREAS: On February 22, 2012 the Board of Directors of the BANK has authorized by Resolution

No. 9719 to grant to the AUTHORITY an increase of this credit line totaling $126,602,226 for the purposes

above, the credit line reaching a maximum of $197,721,815, subject to the terms and conditions set forth herein.

          WHEREAS: In Resolution No. 2012-10 dated March 2, 2012 issued by the AUTHORITY, the

AUTHORITY accepted the terms and conditions set forth in the referenced Resolution No. 9719 of Board of

Directors of the BANK.

          THEREFORE, in consideration of the facts confirmed above, and of the representations, approvals and

guarantees set forth below, the parties that appear approve and agree to grant this First Amendment to Loan

Agreement, under the following:

                                        TERMS AND CONDITIONS

          FIRST: The first sentence of Section 1.1 of Article 1 of the LOAN AGREEMENT is amended to

provide as follows:

          “1.1   Credit Line:




[stamp:] MARIA DE LOURDES RODRIGUEZ Attorney-Notary



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                     After the LEGAL DOCUMENTS listed in Article 4.1 of this LOAN AGREEMENT are issued and

             signed, the BANK shall extend to the AUTHORITY a non-revolving CREDIT LINE for the maximum principal

             amount of ONE HUNDRED NINETY-SEVEN MILLION SEEN HUNDRED TWENTY-ONE

             THOUSAND EIGHT HUNDRED FIFTEEN DOLLARS ($197,721,815). Of this principal amount, the

             AUTHORITY shall use the sum of $11,397,243 for the conversion to the Auto Expreso system on the PR-22

             and PR-5; the sum of $59,722,346 to bear the cost of operating expenses of the first six months of fiscal year

             2012; the sum of $17,424,485 to cover the payment of $50,640.89 for financial consulting services and the

             capitalization of interest upon expiration that would total $17,373,844.11; and the sum of $109,177,741 to bear

             the cost of operating expenses of the second six months of fiscal year as follows:

                     A.        $16,279,074 for operational support to the AMA during FY 2012

                     B.        $16,891,471 to comply with the decision stated in the case of Redondo Construction Corp. v.

                               PRHTA, Case Number 09-2299 (CCC) before the Federal District Court for the District of
[initials]
                               Puerto Rico.

                     C.        $42,052,683.27 to balance the accounts payable as broken down below:




                     [stamp:] MARIA DE LOURDES RODRIGUEZ Attorney-Notary




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              Aging @ January 31, 2012
                                                            Accounts Payable

              ACI                                                                               $         17,532,109.00
              TRANSCORE                                                                                    9,958,933.85
              FIRST TRANSIT                                                                                3,382,933.04
              GENESIS                                                                                      1,456,878.14
              INSTRANST                                                                                      228,463.15
              SKANSKA                                                                                      1,100,000.00
              AAA                                                                                            984,071.70
              PRTC                                                                                           784,361.00
              DEVELOPMENT AND CONSTRUCTION LAW GROUP, LLC                                                    750,000.00
              Bufete Toledo & Toledo                                                                         900,000.00
              Bufete Vazques Graciani                                                                        452,607.00
              JC BARRIER SOLUTIONS CORP                                                                      264,105.96
              LEASEWAY OF PR                                                                                 431,366.50
              MANGUAL’S OFFICE CLEANING SERVICE, INC.                                                        644,487.16
              NEW STAR ADQUISITION                                                                           322,033.80
              TRIPLE-S SALUD                                                                               2,638,209.40
              XEROX CORP                                                                                     212,123.57
              AEP
                                                                                                $         42,052,683.27

                       D.     $33,954,512.73 for operating expenses”.


[initials]             SECOND: To evidence the referenced increase in the principal amount of the referenced credit line, on

             this same date the AUTHORITY signs amendments to each of the two PROMISSORY NOTES signed on October

             27, 2011 in relation to the Original Loan Agreement. For such purposes, on this same date the signs a First

             Amendment to the Promissory Note (“Allonge”) to increase to $12,440,090.81 the amount of the PROMISSORY

             NOTE by $11,397,243 (conversion to the Auto Express system on the PR-22 and PR-5, and a First Amendment

             to the Promissory Note (“Allonge”) to increase to $185,281,724.19 the amount of the PROMISSORY NOTE for




             [stamp:] MARIA DE LOURDES RODRIGUEZ Attorney-Notary

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             $59,722,346 (operational expenses of the first six months of Fiscal Year 2012).

                       THIRD: For accounts payable disbursements, the AUTHORITY shall deliver, in addition to the

             Disbursement Request form (Notice of Drawing) set forth in Annex A of the Original Loan Agreement, the

             certification form that is made to form a part of this First Amendment to Loan Agreement as Annex B, and the

             following procedure shall be follows. The AUTHORITY shall deliver to the BANK early in the morning: (a)

             Disbursement Request (Notice of Drawing), (b) Certification for Accounts Payable Disbursements, and (c) a copy

             of the check prepared for the supplier. The BANK shall process the disbursement and inform the AUTHORITY

             after the funds are available in the account. The AUTHORITY shall request that the supplier pick up its check at

             the AUTHORITY and upon delivering the check, the AUTHORITY shall request a receipt. The AUTHORITY

             shall immediately send an electronic copy of the receipt to the BANK.

                       FOURTH: The Bank may hire a consultant to evaluate the operational and financial situation of the

             AUTHORITY as necessary.

                       FIFTH: The BANK and the AUTHORITY expressly give notice that this amendment does not constitute

             a novation of the original obligation. All of the other terms and conditions of the Credit Line, as evidenced by the
[initials]
             Original Loan Agreement and corresponding PROMISSORY NOTES, not inconsistent with the above, shall

             continue in full force and effect.




             [stamp:] MARIA DE LOURDES RODRIGUEZ Attorney-Notary




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          IN WITNESS WHEREOF, the parties who appear grant this First Amendment to the Loan Agreement,

in San Juan, Puerto Rico, on this date March [hw:] 5, 2012.



 BANCO GUBERNAMENTAL DE                                  HIGHWAYS AND TRANSPORTATION
 FOMENTO PARA PUERTO RICO                                AUTHORITY

         [signature]                                             [signature]
 José R. Otero Freiría                                   Rubén Hernández Gregorat
 Executive Vice President                                Executive Director and
 Of Financing                                            Secretary, Department of Transportation
                                                         and Public Works of Puerto Rico

Statement [hw:] 659----

         Acknowledged and signed before me by Rubén Hernández Gregorat, adult, married, executive and
resident of San Juan [hw:] Guaynabo, [initials] Puerto Rico, in his capacity as Executive Director of the Highways
and Transportation Authority of Puerto Rico, and Secretary of the Department of Transportation and Public Works
of Puerto Rico, whom I know personally.
          In San Juan, Puerto Rico, on March [hw:] 5, 2012.
 [stamp:] MARIA DE
 LOURDES
 RODRIGUEZ
 ATTORNEY-NOTARY                                                                      [signature]
                                                                                      Public Notary


Statement [hw:] 549

        Acknowledged and signed before me by José R. Otero Freiría, adult, married, and resident of Dorado,
Puerto Rico, in his capacity of Executive Vice President of Financing of the Banco Gubernamental de Fomento
para Puerto Rico, whom I know personally.

       In San Juan, Puerto Rico, on March [hw:] 2, 2012.
 [stamp:] MARGARITA
 CINTRON SOLLA
 ATTORNEY-NOTARY
                                                                                      [signature]
                                                                                      Public Notary

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                                       SECOND AMENDMENT TO LOAN AGREEMENT



                    THE FIRST PARTY: The BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO

             RICO, a banking institution organized and existing pursuant to Law No. 17, approved on September 23, 1948,

             as amended (the “BANK”), represented in the act by José R. Otero Freiría, adult, married and a resident of

             Dorado, Puerto Rico.

                    THE SECOND PARTY: The HIGHWAYS AND TRANSPORTATION AUTHORITY OF

             PUERTO RICO, a legal entity, established pursuant to Law No. 74 of June 23, 1965, (the “AUTHORITY”), as

             amended, represented in this act by Rubén A. Hernández Gregorat, Executive Director of the Authority and

             Secretary of the Department of Transportation and Public Works, adult, married, and a resident of Guaynabo,

             Puerto Rico.

                                                           PREAMBLE

                    WHEREAS: On October 27, 2011, the AUTHORITY and the BANK granted a Loan Agreement for a

             non-revolving credit line for SEVENTY-ONE MILLION ONE HUNDRED NINETEEN THOUSAND FIVE

             HUNDRED EIGHTY-NINE DOLLARS ($71,119,589), plus capitalized interest, to bear the cost of the

             conversion to the autoexpress system on the PR 22 and PR 5 and to cover operating expenses (the “Original

[initials]   Loan Agreement”).




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                  WHEREAS, On March 5, 2012, the AUTHORITY and the BANK signed a First Amendment to loan

          agreement to increase by $126,602,226, the amount of the credit line for a total maximum amount of

          $197,721,815.

                  WHEREAS, the referenced First Amendment to Loan Agreement provided that from the said increase

          the AUTHORITY would use the sum of $109,177,741 to finance operating expenses corresponding to the second

          six months of fiscal year 2011-2012. It is provided that of the said sum $109,177,741, the AUTHORITY would

          use the sum of $42,052,683.27 to pay off certain accounts pending payment to specific suppliers for specific

          sums.

                  WHEREAS: the AUTHORITY and the Bank deem that it is necessary to sign this Third Amendment

          to the Loan Agreement to: [1] clarify that the amounts of accounts pending payment to suppliers identified in

          sub-paragraph (c) of section 1.1 of the Original Loan Agreement, as amended in the First Amendment to Loan

          Agreement, are estimated amounts and that the final figure of each of these amounts is being determined; and

          [2] provide flexibility in the use of the sum of $42,052,683.27 for the payments of these accounts by the

          AUTHORITY.

                  THEREFORE, in consideration of the facts confirmed above, and of the representations, approvals and

[initials] guarantees set forth below, the parties that appear approve and agree to grant this Third Amendment to Loan

          Agreement, under the following:




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                                               TERMS AND CONDITIONS

              FIRST: The first sentence of sub-paragraph (C) of Section 1.1 of Article 1 of the Original Loan Agreement,

      as amended, so that the referenced sub-paragraph provides as follows:

              (C) $42,052,683.27 to pay off the accounts payable to suppliers that are broken down below, the amounts of

              which are estimated in the figure that follows the name of each supplier, which the AUTHORITY, with the

              consent of the BANK, may increase or reduce by supplier, as necessary after the final figure applicable to

              each supplier is determined, without the AUTHORITY exceeding the maximum payment of $42,052,683.27

              authorized for this purpose:

                    Aging @ January 31, 2012
                                                           Accounts Payable

                    ACI                                                                        $      17,532,109.00
                    TRANSCORE                                                                          9,958,933.85
                    FIRST TRANSIT                                                                      3,382,933.04
                    GENESIS                                                                            1,456,878.14
                    INSTRANST                                                                            228,463.15
                    SKANSKA                                                                            1,100,000.00
                    AAA                                                                                  984,071.70
                    PRTC                                                                                 784,361.00
                    DEVELOPMENT AND CONSTRUCTION LAW GROUP, LLC                                          750,000.00
                    Bufete Toledo & Toledo                                                               900,000.00
                    Bufete Vazques Graciani                                                              452,607.00
                    JC BARRIER SOLUTIONS CORP                                                            264,105.96
                    LEASEWAY OF PR                                                                       431,366.50
[initials]          MANGUAL’S OFFICE CLEANING SERVICE, INC.                                              644,487.16
                    NEW STAR ADQUISITION                                                                 322,033.80
                    TRIPLE-S SALUD                                                                     2,638,209.40
                    XEROX CORP                                                                           212,123.57
                    AEP
                                                                                               $      42,052,683.27




                                                          3
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        SECOND: The BANK and the AUTHORITY expressly give notice that this amendment does not

constitute a novation of the obligations of the original obligation. Any of the other terms and conditions of the

Credit Line, as evidenced by the Original Loan Agreement, as amended in the First Amendment to Loan

Agreement, and corresponding PROMISSORY NOTES, as amended, not inconsistent with the above, shall

remain unchanged and in full effect.

                                  [SIGNATURES ON THE NEXT PAGE]




 [initials]
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       IN WITNESS WHEREOF, the parties who appear grant this Second Amendment to the Loan

Agreement, in San Juan, Puerto Rico, on March [hw:] 9, 2012.



 BANCO GUBERNAMENTAL DE                                  HIGHWAYS AND TRANSPORTATION
 FOMENTO PARA PUERTO RICO                                AUTHORITY

         [signature]                                            [signature]
 José R. Otero Freiría                                   Rubén Hernández Gregorat
 Executive Vice President                                Executive Director and Secretary,
                                                         Department of Transportation and
                                                         Public Works of Puerto Rico

Statement [hw:] -550-

        Acknowledged and signed before me by Rubén Hernández Gregorat, adult, married, executive and
resident of San Juan, Puerto Rico, in his capacity as Executive Director of the Highways and Transportation
Authority of Puerto Rico, and Secretary of the Department of Transportation and Public Works of Puerto Rico,
whom I know personally.

       In San Juan, Puerto Rico, on March [hw:] 9, 2012.
 [stamp:]
 MARGARITA
 CINTRON SOLLA
 ATTORNEY-                                                                          [signature]
 NOTARY                                                                             Public Notary


Statement [hw:] -551-

        Acknowledged and signed before me by José R. Otero Freiría, adult, married, and resident of Dorado,
Puerto Rico, in his capacity of Executive Vice President of Financing of the Banco Gubernamental de Fomento
para Puerto Rico, whom I know personally.

       In San Juan, Puerto Rico, on March [hw:] 9, 2012.
 [stamp:]
 MARGARITA
 CINTRON SOLLA
 ATTORNEY-                                                                          [signature]
 NOTARY                                                                             Public Notary
      Case:17-03283-LTS Doc#:18815-4 Filed:10/27/21 Entered:10/27/21 09:09:47                            Desc:
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                                  THIRD AMENDMENT TO LOAN AGREEMENT



              THE FIRST PARTY: The BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO RICO,

      a banking institution organized and existing pursuant to Law No. 17, approved on September 23, 1948, as

      amended (the “BANK”), represented in the act by its Executive Vice President and Fiscal Agent, Jorge A.

      Clivillés Díaz, adult, married and a resident of San Juan, Puerto Rico.

              THE SECOND PARTY: The HIGHWAYS AND TRANSPORTATION AUTHORITY OF

      PUERTO RICO, a legal entity, established pursuant to Law No. 74 of June 23, 1965, (the “AUTHORITY”), as

      amended, represented in this act by Javier E. Ramos Hernández, Executive Director, married and a resident of

      Bayamón, Puerto Rico.

              Unless a term written in capital letters is defined otherwise in this third Amendment to Loan Agreement

         (hereinafter, the “THIRD AMENDMENT TO THE LOAN AGREEMENT”), it shall have the meaning given in
[initials]
      the LOAN AGREEMENT as defined below.

                                                       PREAMBLE

              WHEREAS: On October 27, 2011, the AUTHORITY and the BANK granted a Loan Agreement for a

      non-revolving credit line for SEVENTY-ONE MILLION ONE HUNDRED NINETEEN THOUSAND FIVE

      HUNDRED EIGHTY-NINE DOLLARS ($71,119,589), plus capitalized interest, to bear the cost of the




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             conversion to the Auto Express system on highways PR-22 and PR-5 and to cover operating expenses of the first six

             months of Fiscal Year 2012 (hereinafter, the LOAN AGREEMENT”).

                     WHEREAS: On the same date of the granting of the LOAN AGREEMENT, the AUTHORITY signed two

             PROMISSORY NOTES in favor of the BANK, one for the amount of $11,397,243 corresponding to the funds to

             bear the cost of the conversion to the Auto Express system on the PR-22 and PR-5, and the other for the amount of

             $59,722,346 corresponding to the funds to bear the cost of operating expenses of the first six months of fiscal year

             2012.

                     WHEREAS: On March 5, 2012, the BANK and the AUTHORITY signed a First Amendment to Loan

             Agreement to increase the CREDIT LINE by and additional amount of $126,602,226 to finance operating expenses,

             to cover fees for financial consulting services and the capitalization of interest until August 31, 2013. By that

             increase, the total maximum amount of the CREDIT LINE was increased to $197,721,815. On that same date, the

             AUTHORITY signed a First Amendment to Promissory Note (“Allonge”) to increase to $12,440,090.81 the amount

             of the PROMISSORY NOTE by $11,397,243 (conversion to the Auto Express system on the PR-22 and PR-5), and

             a First Amendment to Promissory note (“Allonge”) to increase to $185,281,724.19 the amount of the PROMISSORY

             NOTE by $59,722,346 (operating expenses of the first six months of Fiscal Year 2012).
[initials]




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                  WHEREAS: On March 9, 2012, the BANK and the AUTHORITY granted a Second Amendment to Loan

          Agreement for the purpose of establishing that the amounts of the accounts payable to suppliers listed in sub-

          paragraph (C) of Section 1.1 of the LOAN AGREEMENT are estimated and to give flexibility in the use of the funds

          intended for the payment of those accounts payable. This Second Amendment to Loan Agreement does not make

          any change or amendment to the PROMISSORY NOTES.

                  WHEREAS: The CREDIT LINE has effect until August 31, 2013 and the source of repayment of the

          CREDIT LINE are future issuances of bonds and income from future public private alliances as well as income of

          the AUTHORITY.

                  WHEREAS: On June 30, 2013, the CREDIT LINE has a principal balance totaling $171,301,740.88 and

[initials] accrued interest for $11,274,053.04.

                  WHEREAS: The management of the BANK has recommended to amend the CREDIT LINE for the purpose

          of extending its effective date until August 31, 2014.

                  WHEREAS: By Resolution No. 10102 adopted at a meeting held on July 17, 2013, the Board of Directors

          of the BANK has authorized amendment of the LOAN AGREEMENT for purposes of extending the expiration
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             date of the obligation until August 31, 2014, among other terms and conditions.

                     WHEREAS: The AUTHORITY has accepted the terms and conditions established by the BANK for this

             amendment in accordance with Resolution No. 2013-36 issued on August 16, 2013 by its Board of Directors.

                     THEREFORE, in consideration of the facts confirmed above, and of the representations, approvals and

             guarantees set forth below, the parties that appear approve and agree to grant this THIRD AMENDMENT TO

             LOAN AGREEMENT, under the following:

                                                      TERMS AND CONDITIONS

                     FIRST: The first sentence of Section 1.3 of Article 1 of the LOAN AGREEMENT is amended to provide

             as follows:

                     ”The principal of the CREDIT LINE plus the capitalized interest shall be payable on August 31, 2014 .”


[initials]           SECOND: On this same date the AUTHORITY signs amendments to each of the two PROMISSORY

             NOTES, as amended. For such purposes, on this same date, the AUTHORITY signs the respective Second

             Amendment to Promissory Note (“Allonge”) corresponding to each PROMISSORY NOTE. Each ALLONGE shall

             be made a part of the respective PROMISSORY NOTES signed by the AUTHORITY, as amended, with the purpose

             of incorporating the agreements and amendments set forth herein.




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                      THIRD: The AUTHORITY acknowledges, agrees and accepts to pay to the BANK professional fees for

             financial consulting services equal to one twenty-fifth (1/25th) of one percent (1%) up to $100 million and one

             thirtieth (1/30th) of one percent (1%) over $100 million, for a total of Seventy-Two Thousand Five Hundred Seventy-

             Three Dollars and Ninety-Four ($72,573.94) corresponding to this transaction and according to the policy of the

             BANK in effect.

                      FOURTH: This THIRD AMENDMENT TO THE LOAN AGREEMENT and the respective ALLONGES

             do not constitute a novation of the obligations of the AUTHORITY under the LOAN AGREEMENT and

             PROMISSORY NOTE, as amended herein. Any of the other terms and conditions of the LOAN AGREEMENT

             and the PROMISSORY NOTE, as amended, that do not violate the agreement herein shall remain unchanged and

             in full effect.

                      FIFTH: This THIRD AMENDMENT TO THE LOAN AGREEMENT is signed in accordance with

             Resolution 10102 adopted by the Board of Directors of the BANK on July 17, 2013, which was approved as a
[initials]
             Statement of Intent under Section 1.150-2 of U.S. Treasury Department Regulation Section 1.150-2.



                                                    [SIGNATURES ON NEXT PAGE]




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        IN WITNESS WHEREOF, the parties who appear grant this Third Amendment to the Loan Agreement,

in San Juan, Puerto Rico, on August [hw:] 28, 2013.



 BANCO GUBERNAMENTAL DE                                HIGHWAYS AND TRANSPORTATION
 FOMENTO PARA PUERTO RICO                              AUTHORITY

         [signature]                                           [signature]
 Jorge A. Clivillés Díaz                               Javier E. Ramos Hernández
 Executive Vice President                              Executive Director
 and Fiscal Agent


Statement [hw:] 872

        Acknowledged and signed before me by Javier E. Ramos Hernández , adult, married, and resident of
Bayamón, Puerto Rico, in his capacity as Executive Director of the Highways and Transportation Authority of
Puerto Rico, whom I know personally.

       In San Juan, Puerto Rico, on August [hw:] 28, 2013.
 [stamp:]
 MARGUILEAN
 RIVERA AMILL
 ATTORNEY-                                                                         [signature]
 NOTARY                   EXEMPT FROM PAYMENT OF STAMP                             Public Notary
                          TAX LAW 47 OF JUNE 4, 1982


Statement [hw:] 875

        Acknowledged and signed before me by Jorge A. Clivillés Díaz, adult, married and resident of San Juan,
Puerto Rico, in his capacity of Executive Vice President and Fiscal Agent of the Banco Gubernamental de Fomento
para Puerto Rico, whom I know personally.

       In San Juan, Puerto Rico, on August [hw:] 28, 2013.
 [stamp:]
 MARGUILEAN
 RIVERA AMILL
 ATTORNEY-                                                                         [signature]
 NOTARY                                                                            Public Notary
                          EXEMPT FROM PAYMENT OF STAMP
                          TAX LAW 47 OF JUNE 4, 1982

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                                 FOURTH AMENDMENT TO LOAN AGREEMENT



              THE FIRST PARTY: The BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO RICO,

      a banking institution organized and existing pursuant to Law No. 17, approved on September 23, 1948, as

      amended (the “BANK”), represented in the act by its Executive Vice President and Fiscal Agent, Jorge A.

      Clivillés Díaz, adult, married and a resident of San Juan, Puerto Rico.

              THE SECOND PARTY: The HIGHWAYS AND TRANSPORTATION AUTHORITY OF

      PUERTO RICO, a legal entity, established pursuant to Law No. 74 of June 23, 1965, (the “AUTHORITY”), as

      amended, represented in this act by Javier E. Ramos Hernández, Executive Director, married, engineer and a

      resident of Bayamón, Puerto Rico.

              Unless a term written in capital letters is defined otherwise in this third Amendment to Loan Agreement

         (hereinafter, the “THIRD AMENDMENT TO THE LOAN AGREEMENT”), it shall have the meaning given in
[initials]
      the LOAN AGREEMENT as defined below.

                                                       PREAMBLE

              WHEREAS: On October 27, 2011, the AUTHORITY and the BANK granted a Loan Agreement for a

      non-revolving credit line for SEVENTY-ONE MILLION ONE HUNDRED NINETEEN THOUSAND FIVE

      HUNDRED EIGHTY-NINE DOLLARS ($71,119,589), plus capitalized interest, to bear the cost of the




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             conversion to the Auto Express system on highways PR-22 and PR-5 and to cover operating expenses of the first six

             months of Fiscal Year 2012 (hereinafter, the LOAN AGREEMENT”).

                     WHEREAS: On the same date of the granting of the LOAN AGREEMENT, the AUTHORITY signed two

             PROMISSORY NOTES in favor of the BANK, one for the amount of $11,397,243 corresponding to the funds to

             bear the cost of the conversion to the Auto Express system on the PR-22 and PR-5, and the other for the amount of

             $59,722,346 corresponding to the funds to bear the cost of operating expenses of the first six months of fiscal year

             2012 (hereinafter “PROMISSORY NOTE” and, jointly, the (“PROMISSORY NOTES”).

                     WHEREAS: On March 5, 2012, the BANK and the AUTHORITY signed a First Amendment to Loan

             Agreement to increase the CREDIT LINE by and additional amount of $126,602,226 to finance operating expenses,

             to cover fees for financial consulting services and the capitalization of interest until August 31, 2013. By that

             increase, the total maximum amount of the CREDIT LINE was increased to $197,721,815. On that same date, the

             AUTHORITY signed a First Amendment to Promissory Note (“Allonge”) to increase to $12,440,090.81 the amount

             of the PROMISSORY NOTE by $11,397,243 (conversion to the Auto Express system on the PR-22 and PR-5), and

             a First Amendment to Promissory note (“Allonge”) to increase to $185,281,724.19 the amount of the PROMISSORY

             NOTE by $59,722,346 (operating expenses of the first six months of Fiscal Year 2012).
[initials]




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                WHEREAS: On March 9, 2012, the BANK and the AUTHORITY granted a Second Amendment to Loan

       Agreement for the purpose of establishing that the amounts of the accounts payable to suppliers listed in sub-

       paragraph (C) of Section 1.1 of the LOAN AGREEMENT are estimated and to give flexibility in the use of the funds

       intended for the payment of those accounts payable. This Second Amendment to Loan Agreement does not make

       any change or amendment to the PROMISSORY NOTES.

                WHEREAS: On August 28, 2013, the BANK & the AUTHORITY signed a Third Amendment to Loan

       Agreement to extend its term until August 31, 2014. On that same date, the AUTHORITY signed the respective

       Second Amendment to Promissory Note (“Allonge”) to the PROMISSORY NOTES in order to extend the expiration

       dates of the PROMISSORY NOTES in accordance with the above.

                WHEREAS: On May 31, 2014, the CREDIT LINE had a principal balance totaling $171,604,829 and

         accrued interest of $20,846,634.
[initials]
                WHEREAS: The CREDIT LINE has funds available to disburse for the amounts of $1,902,502.87 for Fiscal

       Year 2012 operating expenses, and $6,840,638.86 for the financing of the conversion to the Auto Express system of

       highways PR-22 and PR-5.

                WHEREAS: On June 25, 2013, the Legislative Assembly of the Commonwealth of Puerto Rico approved

       Laws 30 and 31-2013, which increase




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       the income of the AUTHORITY so that it can continue with its program of issuance of bonds for the payment of

       the credit lines with the BANK.

               WHEREAS: The CREDIT LINE had a term until August 31, 2014, and the source of repayment of the

       CREDIT LINE is future issuances of bonds and income from future public private alliances, as well as income of

       the AUTHORITY.

               WHEREAS: The management of the BANK has recommended to amend the CREDIT LINE for the

       purpose of extending its effective date until August 31, 2015 and to establish the payment of interest upon

       expiration.

               WHEREAS: By Resolution No. 10368 adopted at a meeting held on July 27, 2014, the Board of Directors

[initials] of the BANK has authorized amendment of the LOAN AGREEMENT for purposes of extending the expiration

       date of the obligation until August 31, 2015, among other terms and conditions.

               WHEREAS: The AUTHORITY has accepted the terms and conditions established by the BANK for this

       amendment in accordance with Resolution No. 2014-74 adopted on September 22, 2014 by the Board of Directors

       of the AUTHORITY.

               THEREFORE, in consideration of the facts confirmed above, and of the representations, approvals and

       guarantees set forth below, the parties approve and agree to grant this FOURTH AMENDMENT TO LOAN

       AGREEMENT, under the following:
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                                                        TERMS AND CONDITIONS

                    FIRST: The first sentence of Section 1.3 of Article 1 of the LOAN AGREEMENT is amended to provide

          as follows:

                    “The principal of the CREDIT LINE plus the capitalized interest shall be payable on August 31, 2015.”


                    SECOND: On this same date the AUTHORITY signs the respective Third Amendment to Promissory Note

          (“ALLONGE”) corresponding to each PROMISSORY NOTE, as amended. Each ALLONGE shall be made a part

          of the respective PROMISSORY NOTE for the purpose of incorporating the agreements and amendments set forth

          herein.

                    THIRD: The AUTHORITY acknowledges, agrees and accepts to pay to the BANK professional fees for

[initials] financial consulting services equal to one twenty-fifth (1/25 ) of one percent (1%) up to One Hundred Million
                                                                        th



          ($100,000,000) and one thirtieth (1/30th) of one percent (1%) over One Hundred Million ($100,000,000), for a total

          of Seventy-Two Thousand Five Hundred Seventy-Three Dollars and Ninety-Four ($72,573.94) corresponding to

          this transaction and according to the policy of the BANK in effect.

                    FOURTH: This FOURTH AMENDMENT TO THE LOAN AGREEMENT and each ALLONGE do not

          constitute a novation of the obligations of the AUTHORITY under the LOAN AGREEMENT and PROMISSORY

          NOTES, as amended herein. Any of the other terms and conditions of the LOAN AGREEMENT and the

          PROMISSORY NOTES, as amended, that do not violate the agreement herein shall remain unchanged and in full

          effect.




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                     IN WITNESS WHEREOF, the parties who appear grant this Fourth Amendment to the Loan

             Agreement, in San Juan, Puerto Rico, on December [hw:] 9, 2014.



              BANCO GUBERNAMENTAL DE                                HIGHWAYS AND TRANSPORTATION
              FOMENTO PARA PUERTO RICO                              AUTHORITY

                      [signature]                                           [signature]
              Jorge A. Clivillés Díaz                               Javier E. Ramos Hernández
              Executive Vice President                              Executive Director
              and Fiscal Agent


             Statement [hw:] 1,011
[initials]
                     Acknowledged and signed before me by Javier E. Ramos Hernández, adult, married, and resident of
             Bayamón, Puerto Rico, in his capacity as Executive Director of the Highways and Transportation Authority of
             Puerto Rico, whom I know personally.

                    In San Juan, Puerto Rico, on December [hw:] 9, 2013.
              [stamp:]
              MARGUILEAN
              RIVERA AMILL
              ATTORNEY-                                                                         [signature]
              NOTARY                   EXEMPT FROM PAYMENT OF STAMP                             Public Notary
                                       TAX LAW 47 OF JUNE 4, 1982


             Statement [hw:] 1,012

                    Acknowledged and signed before me by Jorge A. Clivillés Díaz, adult, married and resident of San Juan,
             Puerto Rico, in his capacity of Executive Vice President and Fiscal Agent of the Banco Gubernamental de
             Fomento para Puerto Rico, whom I know personally.

                    In San Juan, Puerto Rico, on December [hw:] 9, 2014.
              [stamp:]
              MARGUILEAN
              RIVERA AMILL
              ATTORNEY-                                                                         [signature]
              NOTARY                                                                            Public Notary
                                       EXEMPT FROM PAYMENT OF STAMP
                                       TAX LAW 47 OF JUNE 4, 1982

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